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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------
                                                                  :
  AHARON MILLER, et al.,                                          :
                                                                  :
                                      Plaintiffs,                 :      Case No. 1:18-cv-02192-RPK-PK
                                                                  :
           -v-                                                    :
                                                                  :
  ARAB BANK, PLC,                                                 :
                                                                  :
                                                                  :
                                      Defendants.
  ---------------------------------------------------------------------

                                                                  :
                                                                  :
  NATHAN PAM, et al.,                                             :
                                                                  :
                                      Plaintiffs,                 :        Case No. 1:18-cv-04670-RPK-PK
                                                                  :
           -v-                                                    :
                                                                  :
  ARAB BANK, PLC,                                                 :
                                                                  :
                                                                  :
                                      Defendants.
  ----------------------------------------------------------------------




    DEFENDANT ARAB BANK, PLC’S MEMORANDUM OF LAW IN SUPPORT OF
          ITS MOTION FOR A PROTECTIVE ORDER PURSUANT TO
         RULE 26(c) OF THE FEDERAL RULES OF CIVIL PROCEDURE
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          Arab Bank plc (“Arab Bank” or the “Bank”) respectfully submits this memorandum of law

 in support of its Motion for a Protective Order pursuant to Fed. R. Civ. P. 26(c).

                                         PRELIMINARY STATEMENT

          The Supreme Court long ago warned that U.S. courts should exercise “special vigilance”

 to protect foreign litigants from unnecessary or unduly burdensome discovery. Société Nationale

 Industrielle Aerospatiale v. U.S. Dist. Ct. for S.D. Iowa, 482 U.S. 522, 542, 546 (1987) (emphasis

 added). This is such a case. Plaintiffs waited almost eighteen years to bring these actions, having

 chosen not to join the lawsuits dating back to 2004 in Linde v. Arab Bank, PLC, 1:04-CV-02799

 (BMC) (PK), that were brought by many of their relatives.1 Represented by the same counsel,

 they seek to borrow from the discovery playbook previously employed in those cases. But this

 case is not Linde, and both the substantive law governing the Anti-Terrorism Act (“ATA”), 18

 U.S.C. § 2332, claims and the Federal Rules of Civil Procedure governing discovery have changed.

 Indeed, the jury verdict in Linde was vacated based upon the District Court’s misapprehension of

 the law which permeated its discovery rulings and the jury charge.

          Plaintiffs are, of course, entitled to all discovery that complies with Rule 26(b) of the

 Federal Rules of Civil Procedure (with respect to documents located in the United States) and the

 heightened standard under Section 442(1)(c) of the Restatement (Third) of Foreign Relations Law

 (the “Restatement”) (with respect to documents located abroad). The document requests that are

 the subject of this motion for a protective order comply with neither.2 To be clear, this motion

 does not seek protection for documents located in the United States. Arab Bank has already


 1
   Sixty-two of the sixty-eight Plaintiffs are relatives of the Linde plaintiffs, but only three allege physical injury arising
 from fourteen terrorist attacks committed by various U.S. designated Foreign Terrorist Organizations (“FTOs”) in
 Israel between November 4, 2001, and September 24, 2004.
 2
   Copies of Plaintiffs’ First and Second Requests for Production of Documents (hereinafter referred to as “First RFP”
 and “Second RFP” or collectively the “Requests”) are attached to the Declaration of Courtney Gilligan Saleski dated
 March 4, 2022 (“Saleski Decl.”) as Exhibits 4 and 5.


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 produced all such documents, even where it might have withheld production on grounds of

 relevancy and burden under Rule 26(b). Plaintiffs do not claim otherwise. This motion is directed

 solely at documents located in Jordan, Lebanon, and the Palestinian Territories. With the joint

 agreement of the Parties, the Court proceeded in the first instance with Letters Rogatory addressed

 to the foreign governments, deferring, as the Court proposed, issues regarding the scope of

 Plaintiffs’ Requests pending the response of the foreign governments.

         The foreign governments subsequently declined to authorize the Bank to produce

 documents located in their jurisdictions as requested in the Letters Rogatory. As a result, the Bank

 is not free to ignore and breach the laws of those countries, just as Plaintiffs are not free to ignore

 U.S. law regarding the proper scope of discovery. The Bank is willing, as an alternative, to attempt

 to seek customer consents as permitted under those foreign laws. Plaintiffs, however, have refused

 to engage in any discussion to narrow their document demands so that the Bank could seek those

 waivers based upon properly drawn requests, necessitating this motion.

         Simply put, Plaintiffs’ Requests fail to comply with Rule 26(b)(1) of the Federal Rules,

 which requires that discovery be limited in scope to matters relevant to a claim and proportional

 to the needs of the case. The Rule, as amended in 2015, replaces and abolishes the “reasonably

 calculated to lead to admissible evidence” standard that governed the scope of discovery during

 the time of the District Court rulings in Linde. The Requests also violate the heightened standard

 under the Restatement for discovery of documents located abroad. The Restatement requires not

 only that the requested documents be relevant under Rule 26(b), but also that they be “vital” or

 “crucial” to the litigation—i.e., that the litigation will “stand or fall” on their production.

         As discussed below, the Requests at issue are too broadly drawn to meet these standards.

 They do not seek evidence relevant and vital to their claims under the ATA and Justice Against




                                                    2
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 Sponsors of Terrorism Act (“JASTA”), 18 U.S.C. § 2333(d)(2), and are not proportional to the

 needs of the case. Requests for all banking records of 38 charities over a period of seven years,

 regardless of the nature of the transactions, go well beyond seeking evidence relevant or vital to

 establishing primary or secondary liability under existing Second Circuit precedent, as do requests

 for the accounts of individuals who are not even mentioned in the pleadings or alleged to be

 “closely intertwined with the violent terrorist activities” of any terrorist group. Accordingly, the

 Bank is entitled to a protective order narrowing Plaintiffs’ Requests to comply with Rule 26(b)(1)

 and the Restatement as set forth below.

         The Bank also requests that it be given the opportunity to seek customer waivers based on

 discovery demands this Court determines are relevant, proportional, and vital to this case. While

 the Court may have the authority to order Arab Bank to violate the bank secrecy laws of Jordan,

 Lebanon, and the Palestinian Territories under appropriate circumstances, the issue is whether it

 should exercise that authority at this time. The Bank respectfully submits that as a matter of

 international comity, it should not.           Rather, it should defer issuing such an order—which

 unnecessarily places this Court in conflict with foreign sovereigns—pending the outcome of the

 Bank’s efforts to produce documents based on customer waivers, which may render such an order

 moot or cabin its scope depending on the production it is able to make.3 In the alternative, should

 the Court decide to rule on the bank secrecy objection as this time, the Bank submits that it is

 entitled to a protective order that honors foreign bank secrecy laws of general applicability under

 existing Supreme Court and Second Circuit precedent.




 3
   As the Bank has advised the Court, it would expect to complete this process in sixty to ninety days, which is still
 within the timeframe that Plaintiffs have stated they need to complete their production in response to the Bank’s
 discovery requests, and to provide status reports if requested by the Court during this period.



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 I.         RELEVANT BACKGROUND FACTS

            The background facts relevant to this motion may be simply stated.

            On July 5, 2018, the Miller Plaintiffs filed their Amended Complaint, and, on December

 13, 2018, the Pam Plaintiffs filed their First Supplemental Complaint (to their original Complaint

 filed on August 17, 2018), seeking to hold the Bank liable under the ATA and JASTA, as a primary

 or secondary actor in these related actions.

            On July 22, 2019, Plaintiffs served their Requests. The Requests seek a wide range of bank

 records over a seven-year period (1998-2004) for 673 individuals and entities. Only 123 of these

 individuals and entities are mentioned in the operative Complaints and only twelve are alleged to

 have committed, planned, or authorized any of the fourteen attacks that Plaintiffs allege resulted

 in their injuries.

            On August 23, 2019, the Bank served its written Responses to the Requests, objecting to

 individual Requests, where appropriate, on, inter alia, grounds of relevance, proportionality, and

 foreign bank secrecy.4 Notwithstanding its objections, which it expressly reserved, the Bank

 agreed to and, in fact, produced over 217,390 pages of documents that were located in the United

 States and/or previously produced in Linde.

            At issue in this motion are Plaintiffs’ Requests for documents located abroad and subject

 to the bank secrecy laws of Jordan, Lebanon, and the Palestinian Territories. Plaintiffs do not

 dispute that the Bank has otherwise complied with and completed its responses to their Requests.

 II.        THE BANK SECRECY LAWS OF JORDAN, LEBANON, AND THE
            PALESTINIAN TERRITORIES

            The bank secrecy laws of Jordan, Lebanon, and the Palestinian Territories are consistent

 with those of many European and other Middle Eastern jurisdictions. They are not blocking


 4
      Copies of the Responses are attached to the Saleski Decl. as Exhibits 6 and 7.


                                                              4
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 statutes,5 which are clearly disfavored by U.S. courts and given little credence as a basis for

 denying discovery. They are laws of general applicability, which apply equally to domestic and

 foreign requests. They bar disclosure by banks of customer records located in their jurisdictions

 absent an express authorization by the foreign government or waiver by the customer. In each of

 these jurisdictions, violations of bank secrecy laws are punishable by imprisonment and fines, as

 well as other consequences such as loss of banking license, placement under government

 management, dissolution of the board of directors, and civil claims for damages by customers

 whose confidentiality rights are breached.

          A.       Jordanian Bank Secrecy Law

          Bank secrecy is governed by Jordanian Banking Law No. 28 of 2000. Saleski Decl., Ex. 1

 (Odeh Declaration at ¶ 23.) The law states in pertinent part, “[a] bank shall observe full

 confidentiality regarding all accounts, deposits, trusts, and safe-deposit boxes of its customers.”

 (Id. at ¶ 24.) “It shall be prohibited from providing directly or indirectly any information thereon.”

 (Id.) It further provides that, “[a]ll present and former administrators of the bank shall be

 prohibited from providing any information or data on the clients or their accounts, deposits, trusts,

 safe-deposit boxes, or any of their transactions, or disclosing or enabling others to have access to

 such information and data in situations other than those permitted under this law.” (Id. at ¶ 25.)

          The law states that violations “shall be punished with imprisonment for a period not less

 than six months and up to three years, or a fine not less than ten thousand Dinars and not more

 than fifty thousand Dinars, or with both penalties” per disclosure.6 (Id. at ¶ 27.) Banks that violate

 the statute are subject to additional sanctions imposed by the Central Bank, including (1) revoking


 5
   A “blocking statute” is a foreign government’s law that prohibits disclosure and transfer of information to the United
 States for litigation. (See Reporter’s Note 4 to Restatement (Third) of Foreign Relations Law § 442 (1987).)
 6
   At current exchange rates, 10,000 Jordanian Dinars is equal to approximately $14,104 U.S. dollars, while 50,000
 Jordanian dinars is equal to approximately $70,522 U.S. dollars.


                                                            5
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 of the license of the bank; (2) dissolving the board of directors of the bank and placement of the

 bank under the management of the Central Bank; (3) removing the chairman or any member of the

 board of directors of the bank; (4) instructing the bank to cease certain activities, or forbidding the

 bank from distributing dividends; (5) instructing the bank to temporarily suspend from service any

 administrator, other than a member of its board of directors, or to dismiss such administrator,

 depending on the gravity of the violation; and (6) requesting that the bank pursue legal remedies

 against its administrators in accordance with Jordanian law. (Id. at ¶¶ 28-31.) Furthermore, banks

 will be exposed to damages claims by customers for the breach of confidentiality rights.

        B.      Lebanese Bank Secrecy Law

        Lebanon enacted its bank secrecy law on September 3, 1956. Saleski Decl., Ex. 2

 (Cortbaoui Decl. at ¶ 6.) Article 2 of the law prohibits directors and employees of banks in

 Lebanon, including any person who might have access to registers, operations, or correspondence

 of banks, from disclosing to third parties the names of bank customers, their assets, or the facts of

 their account transactions. (Id.) Specifically, the law states in pertinent part, “all persons who,

 through their position or function, by one means or another, have knowledge of the bank’s books,

 operations and correspondence, are bound to absolute secrecy in favor of the bank’s clients and

 may not disclose to anyone whatsoever . . . the names of clients, their assets and facts of which

 they are aware . . . .” (Id.) (emphasis in original). Such disclosure is prohibited to any person or

 entity, even the Lebanese government. (Id.)

        Article 8 of the Law provides that violation of bank secrecy is a criminal offense punishable

 by imprisonment for a period of three months to one year. (Id. at ¶ 13.) Furthermore, violations

 of bank secrecy obligations may subject offending banks and their employees to civil claims for

 damages brought by customers whose confidential information was disclosed. (Id. at ¶ 14.)




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          C.       Palestinian Bank Secrecy Law

          Palestinian law likewise imposes on banks a broad duty of secrecy and makes violations

 of bank secrecy a criminal offense. Saleski Decl., Ex. 3 (Kamal Declaration at ¶ 10.) Palestinian

 Banking Law No. 9 of 2010 imposes obligations to maintain the confidentiality of bank accounts

 on any person who accessed information and data related to an account in relation to his or her

 “job, profession, or work in a direct or indirect way with the bank,” including all current and former

 employees, directors, auditors, consultants, and contractors. (Id. at ¶ 15.) Anyone violating this

 law is subject to a fine of between 5,000 and 250,000 Jordanian Dinars,7 up to one year in prison,

 or both per violation. (Id. at ¶ 16.) Additionally, the bank may be subject to additional sanctions,

 including revocation of its license to operate, as well as claims by customers. (Id.)

 III.     LETTERS ROGATORY TO FOREIGN GOVERNMENTS

          The Bank sought to raise issues regarding both the scope of Plaintiffs’ Requests and their

 impact on seeking authorizations from foreign governments and customers in a letter dated

 September 13, 2019. See ECF No.8 53, Letter Motion for Conference in Lieu of Motions. At a

 conference held on September 24, 2019, the Court decided to defer motion practice addressed to

 scope by either party, pending the responses to the Letters Rogatory to the Jordanian, Lebanese,

 and Palestinian governments. The Court fairly reasoned that if the foreign authorities agreed to

 blanket authorizations permitting the Bank to produce the accounts subject to bank secrecy laws,

 it might obviate the need for the Court to determine issues of scope under either Rule 26(b) or the

 Restatement. See Saleski Decl., Ex. 8 (ECF No. 56, Tr. of Sept. 24, 2019 Conference at 33:20-

 34:5; 37:5-38:6; 40:21-25; 41:12-22); ECF No. 60 at p. 1-2, Order Issuing Letters Rogatory.



 7
   At the current exchange rates, 5,000 Jordanian Dinars is equal to approximately $7,052 U.S. dollars, while 250,000
 Jordanian Dinars is equal to approximately $352,613 U.S. dollars.
 8
   Because the same filings in these related cases are simultaneously filed on the Miller and Pam dockets, unless stated
 otherwise, this Motion only cites to ECF Nos. in the Miller docket in order to avoid duplicate citations.


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         All three foreign governments, having considered the requests, respectfully denied them as

 contrary to their privacy laws. Saleski Decl., Ex. 9 (Nov. 5, 2020 Banque du Liban Response);

 Ex. 10 (Oct. 12, 2021 Central Bank of Jordan Response); Ex. 11 (Oct. 28, 2021 Palestinian

 Minister of Justice’s Response.) Immediately after receiving those denials, the Bank requested

 that Plaintiffs narrow the scope of their Requests so that it could solicit customer waivers based

 upon agreed to Requests. Plaintiffs refused, necessitating this motion.

                                             ARGUMENT

 I.      THE BANK IS ENTITLED TO A PROTECTIVE ORDER NARROWING THE
         SCOPE OF PLAINTIFFS REQUESTS

         A.      The Legal Standard

                 1.      Federal Rule of Civil Procedure 26

         Federal Rule of Civil Procedure 26(c) authorizes a federal court, for good cause, to “issue

 an order to protect a party or person [from whom discovery is sought] from annoyance,

 embarrassment, oppression, or undue burden or expense.” Undue burden under Rule 26(c)

 encompasses both hardship to the producing party and the wider social consequences of producing

 the discovery. Solarex Corp. v. Arco Solar, Inc., 121 F.R.D. 163, 169 (E.D.N.Y. 1988). Rule 26

 “confers broad discretion on the trial court to decide when a protective order is appropriate and

 what degree of protection is required.” See Seattle Times Co. v. Rhinehart, 467 U.S. 20, 34-36

 (1984) (“It is clear from experience that pretrial discovery . . . has a significant potential for abuse.

 This abuse is not limited to matters of delay and expense; discovery also may seriously implicate

 privacy interests of litigants and third parties. . . . The unique character of the discovery process

 requires that the trial court have substantial latitude to fashion protective orders.”).

         Rule 26(b)(1) permits discovery “regarding any nonprivileged matter that is relevant to any

 party’s claim or defense and proportional to the needs of the case[.]” Rule 26(b)(1) defines the six



                                                    8
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 factors used to determine proportionality: “the importance of the issues at stake in the action, the

 amount in controversy, the parties’ relative access to relevant information, the parties’ resources,

 the importance of the discovery in resolving the issues, and whether the burden or expense of the

 proposed discovery outweighs its likely benefit.” F.R.C.P. 26(b)(1). As to the latter point, the

 burden analysis under Rule 26(b) requires at least one additional consideration relevant here. That

 is the burden of producing documents in violation of foreign law, see Aerospatiale, 482 U.S. at

 544, n.29, and in particular, privacy laws. See Johnson v. Nyack Hosp., 169 F.R.D. 550, 562

 (S.D.N.Y. 1996) (granting motions to quash because the “burdens imposed on the hospitals’

 privacy and other interests sufficiently outweigh[ed] the needs of the parties,” and explaining that

 burden under Rule 26(b) at times “lies instead in the adverse consequences of the disclosure of

 sensitive, albeit unprivileged, material.”). Rule 26(b)(2)(C) further provides for a protective order

 where the discovery sought is unreasonably cumulative or duplicative.

        Rule 26 places the burden on Plaintiffs to establish the relevance of their requests. Mortg.

 Resolution Servicing, LLC v. JPMorgan Chase Bank, N.A., 15 Civ. 0293 (LTS) (JCF), 2016 WL

 3906712, at *3 (S.D.N.Y. July 14, 2016).

                2.      The Restatement (Third) of Foreign Relations Law § 442

        As the Supreme Court has stated, “Judicial supervision of discovery should always seek to

 minimize its costs and inconvenience and to prevent improper uses of discovery requests. When

 it is necessary to seek evidence abroad, however, the district court must supervise pretrial

 proceedings particularly closely to prevent discovery abuses.” Aerospatiale, 482 U.S. at 546.

        When considering whether to order production of foreign documents notwithstanding

 foreign laws prohibiting their disclosure (like the bank secrecy restrictions at issue here), the

 Second Circuit applies a comity analysis that includes the factors set forth in the Restatement.

 Under this heightened standard, any requested information that is relevant under Rule 26, must


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 also be identified with “specificity,” “vital,” or “crucial” to the litigation and not available by

 “alternate means”—meaning the litigation will “stand or fall” on whether the document is

 produced. See Société Internationale Pour Participations Industrielles ET Commerciales, S.A. v.

 Rogers, 357 U.S. 197, 205 (1958); Minpeco, S.A. v. Conticommodity Svcs., Inc., 116 F.R.D. 517,

 528 (S.D.N.Y. 1987); Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1475 (9th

 Cir. 1992).9r

                   3.        The Discovery Rulings of the District Court in Linde are No Longer
                             Relevant and Do Not Reflect Current Law

          Plaintiffs have asserted, as recently as this Court’s January 20, 2022, conference, that their

 Requests are no broader than those previously approved by the District Court in Linde and that the

 District Court’s rulings as to scope should, therefore, be followed by this Court. Plaintiffs are

 wrong.

          First, the District Court’s rulings in Linde regarding the scope of discovery were premised

 on a mistaken interpretation of the statutory requirement for primary liability under § 2333(a) of

 the ATA. In 2005, it held that Arab Bank’s provision of any type of material support to a terrorist

 organization in violation of 18 U.S.C. § 2339B was sufficient, by itself, to establish the Bank’s

 liability under the ATA. Linde v. Arab Bank, PLC, 384 F. Supp. 2d 571, 582, 586 (E.D.N.Y.

 2005). Based on this interpretation of ATA primary liability, it then ordered the production of all

 transfers processed by the Bank for it alleged customers, regardless of the nature of the transfer.

 In 2018, the Second Circuit found that the District Court had misinterpreted the statute and vacated

 the jury verdict. It held that to hold a bank liable as a principle under the ATA, the transfers



 9
   Other factors discussed in Point II, infra, include whether the information (a) originated in the Unites States, (b) the
 extent to which noncompliance with the request would undermine important interests of the United States, or
 compliance would undermine important interests of the state where the information is located, (c) hardship to the
 producing party, and (d) whether the party has proceeded in good faith. See, e.g., the Restatement; Milliken & Co. v.
 Bank of China, 758 F. Supp. 2d 238, 246 (S.D.N.Y. 2010).


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 processed by the bank must “involve violence or endanger human life.” Linde v. Arab Bank, PLC,

 882 F.3d 314, 326 (2d Cir. 2018). Transfers for other purposes—such as humanitarian aid—do

 not manifest the intent required to establish an act of international terrorism and thus primary

 liability under the ATA. Id. The District Court’s misreading of the law, which resulted in its

 erroneous charge to the jury, was also the legal basis on which the District Court predicated its

 order regarding the scope of discovery: that the Bank produce all customer transfers over a multi-

 year period regardless of the nature of the transaction based on its erroneous view that even

 transfers for humanitarian aid and social services are sufficient to establish primary liability. As

 the Second Circuit’s holding in Linde makes clear, that is not the law.

            Second, the District Court in Linde made no ruling on the proper scope of discovery in a

 JASTA aiding and abetting action, because JASTA had yet to be enacted. See 18 U.S.C. 2333(d)

 (enacted September 28, 2016).

            Third, the District Court’s discovery rulings predated by thirteen years the 2015

 Amendments to Rule 26(b) which added proportionality, tied relevance to proportionality, and

 abolished the “reasonably calculated to lead to the discovery of admissible evidence” standard

 applied by the court at that time. See 2015 Committee Notes.

            Fourth, the District Court’s analysis of bank secrecy and Restatement factors was

 subsequently criticized by the U.S. Solicitor General as “flawed” in an amicus brief to the Supreme

 Court.10 Saleski Decl., Ex. 23 (Brief for United States as Amicus Curiae at 12.)11




 10
      The reasons for this conclusion of the Solicitor General are discussed at greater length infra in Point II.
 11
    The Second Circuit stated that it need not decide whether the trial court’s ruling on bank secrecy was erroneous
 given its decision to vacate the judgment based on the erroneous jury charge and the agreement of the parties to
 forego a retrial. Linde, 882 F.3d at 333.


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        B.      Plaintiffs’ Requests Do Not Comply with Rule 26(b) or the Restatement

        For purposes of the Motion, Arab Bank has grouped the Requests that are the subject of

 this motion, and seek account records for 673 individuals and entities into five categories. As

 discussed below, these Requests are for documents that are not relevant or vital to Plaintiffs’ claims

 and are not proportional to the needs of the case. As such, they exceed the permissible bounds of

 discovery under Rule 26(b) and Section 442(1)(c) and, being located abroad, are also subject to

 the bank secrecy laws of Jordan, Lebanon, and the Palestinian Territories prohibiting their

 production absent customer waivers. A protective order is therefore warranted.

                1.      Saudi Committee Requests (Category A)

        The Saudi Committee was established in October 2000 as a private charity registered with

 the Kingdom of Saudi Arabia. ECF No. 25, Miller First Amended Complaint (“Miller FAC”),

 ¶¶ 247-51. It was created at the urging of the international community and operated in full

 transparency by publishing on its website the details of its program and every payment made to

 the beneficiaries. During the time period relevant to this suit, then Secretary of State Colin Powell

 described it as a charitable effort to “tak[e] care of people in need.” Saleski Decl., Ex. 12 (U.S.

 Dep’t of St., Interview on NBC’S Meet the Press with Tim Russert (May 5, 2002) at p. 2.) The

 Saudi Committee provided over $194 million to fund projects that provided food, supplies,

 education, jobs, health, and housing in the West Bank and Gaza, as well as support for orphans,

 the disabled, and hospitals and financial assistance to families in need, working with, among

 others, the United Nations Relief and Works Agency, the World Wide Red Cross, and other

 recognized international donors.

        In their pleadings, Plaintiffs focus on two of these programs: (1) a program to provide one-

 time payments to family members of Palestinians detained or imprisoned by Israeli military forces;

 and (2) a program to make one-time payments to families who lost a provider during the Second


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 Intifada.    Plaintiffs characterize these programs as insurance programs, which they allege

 incentivized prospective martyrs to commit acts of violence. See, e.g., Miller FAC at ¶ 267, ECF

 No. 1, Pam Complaint (“Pam Compl.”) at ¶ 120. This motion is not about the accuracy of

 Plaintiffs’ characterization, 12 nor strongly held views to the contrary.13

          Nor is it about whether the Bank made transfers as directed by Arab National Bank

 (“ANB”) on behalf of ANB’s customer, the Saudi Committee. The Bank acknowledges doing so.

 The issue is about the scope of the sixteen Saudi Committee Requests in Category 1 (together, the

 “Saudi Committee Requests”) which request, in addition to transactions processed for or on behalf

 of the Saudi Committee by the Bank, the account records of over 400 individuals, over a seven-

 year time frame and seek documents along the following lines: “All Documents concerning

 transactions processed by Arab Bank for or on behalf of the Saudi Committee for the benefit of

 the families of the following HAMAS ‘martyrs,’ including but not limited to, transaction records,

 account statements, account opening documentation, communications concerning the transactions

 and/or recipients, receipts issued by Arab Bank to account holders and/or payees, and death



 12
     The vast majority of payments under these two Saudi programs did not, in fact, go to the families of imprisoned
 terrorists and suicide bombers, contrary to Plaintiffs’ characterization of these programs as a “death and
 dismemberment insurance scheme.” (Miller FAC at ¶ 272.) First, the Second Intifada was a period of mass detention
 and incarceration involving over 650,000 Palestinians, the majority of whom were not detained as terrorists or for
 having engaged in violent acts. Second, individuals who qualified for martyr payments included mostly innocent third
 parties whose deaths were unrelated to terrorism. B’Tselem, an Israeli human rights organization, identifies on its
 website hundreds of individuals who qualified as “martyrs” because their deaths occurred during the hostilities but
 were themselves not engaged in terrorist acts. They and their families were part of the “collateral” damage of military
 operations and blockades during this conflict. See Saleski Decl., Ex. 13 (B’Tselem, Database providing statistical
 information on fatalities relating to the conflict between Israel and the Palestinians since the beginning of the Second
 Intifada.)
 13
    See, e.g., Saleski Decl., Ex. 14 (ICG Middle East Report No. 13 (Apr. 2, 2003) at 23-24) (“[T]here is strong evidence
 that neither rewards nor penalties provided to the families have much to do with [motivating suicide bombers].
 Payments by charitable institutions to families of suicide bombers stand out in part because of the absence of a
 generalized Palestinian welfare system [which] Palestinians for the most part support.” (ellipses omitted); Saleski
 Decl., Ex. 15 (Israel Cracks Down on Banks Over Payments to Palestinian Inmates, N.Y. Times (May 9, 2020)),
 (noting that Israel first passed a statute making payments to prisoners or families of prisoners a criminal offense in
 2020, sixteen years after the last attack at issue here.)



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 certificates, photographic identification and/or certificates of martyrdom for the individuals that

 qualified the account holder or payee to receive payment.” See, e.g., Saleski Decl., Ex. 4

 (Plaintiffs’ First RFP No. 7), which lists fifty-nine of the over 400 names.14

           In response to these Requests, the Bank has already produced, as a result of the waiver it

 obtained from the Saudi Committee, the transfer records and related correspondence of

 transactions processed by Arab Bank on behalf of ANB’s customer, the Saudi Committee, which

 included transfer instructions identifying recipients, dates, and amounts for any and all beneficiary

 payments, as well as all internal communications relating to those instructions, related

 correspondence, and documentation provided by beneficiaries redacted to delete the identifying

 information, as required by law. What the Bank has not produced, and should not be required to

 produce, are the account documents of the family members reflecting the mirror-image credit into

 those accounts of the transfers already identified in the Bank’s production and which the Bank

 acknowledges making.

           Rule 26 protects against discovery requests that are duplicative of the information already

 provided, and the Restatement expressly recognizes that information need not be provided that is

 available by alternate means. That is the case here with respect to the mirror image of the deposit

 into the beneficiary’s account. Rule 26 and Section 442 also require that the information requested

 must be relevant, proportional, and vital to the claims. The additional information that Plaintiffs

 seek with respect to the accounts of the family members is not.                      Furthermore, it is both

 disproportionate to the needs of the case and burdensome (if not impossible during the COVID-19

 pandemic when vaccines are largely unavailable in the Territories) to obtain waivers from some

 400 family members, assuming they are even still living, to produce information that Plaintiffs



 14
      The sixteen Requests are First RFP Nos. 6-9 and Second RFP Nos. 4-7, 11-14, and 18-21.


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 already have, or other account information of family members unrelated to the Saudi Committee

 transfers.

         Accordingly, to the extent the sixteen Saudi Committee Requests seek information from

 the accounts of the family members who are entitled to their privacy and whose accounts are

 subject to bank secrecy, the Requests should be narrowed to remove the demand for production of

 those account documents.

                2.      Charities and Social Service Institutions (Category B)

         The Requests also seek all bank records over a seven-year period for 38 charities or other

 social service institutions which Plaintiffs allege are part of the FTOs’ social infrastructures. See

 Appendix 1 (listing 38 entities). Plaintiffs seek records for every transaction processed on behalf

 of such charity or institution—be it the purchase of food baskets for the poor, supplies for an

 orphanage, or equipment for a medical facility—without regard to whether such transactions could

 be relevant or vital to proving either primary or secondary liability under existing Second Circuit

 precedent. As such, the Requests are overbroad.

         In Linde v. Arab Bank, PLC, 882 F.3d 314, 327–28 (2d Cir. 2018), the Second Circuit

 rejected the theory that any form of material support to entities, such as charities or social service

 institutions, was sufficient to satisfy the ATA’s requirement for civil liability as a principle. As

 the Court held, the Bank’s acts must “involve violence or endanger human life. . . or appear

 intended to intimidate or coerce a civilian population or to influence or affect a government.” Id.

 at 326. The provision of financial services, even to a U.S.-designated FTO or an entity linked to

 an FTO, that do not involve violence or endanger human life or appear intended to intimidate or

 coerce a civilian population, do not qualify as acts of international terrorism or prove primary

 liability. Id. at 332; Weiss v. Nat’l Westminster Bank, PLC., 993 F. 3d 144, 155 (2d Cir. 2021)

 (upholding dismissal of claim for primary liability against Bank based on transfers for its customer,


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 a U.S.-designated terrorist entity, that included programs for orphans, a maternity clinic, student

 aid, emergency medical aid, food parcels, winter clothes, and other community projects, and run

 by many of the very same charities identified in the Miller and Pam Complaints, because such

 transfers are not “identified as being for any violent or terroristic purpose”).15

          To the extent that Plaintiffs’ Requests sweep in transfers involving humanitarian and social

 service programs, they do not seek information that is relevant and proportionate under Rule 26(b)

 or vital under the Restatement to establish primary liability. To establish primary liability, the

 Requests must be specifically tailored to seek account information that can be identified as being

 for a violent or life endangering purpose pursuant to Second Circuit precedent.

          A somewhat different analysis applies with respect to the scope of these Requests under

 JASTA, but the result in terms of their overbreadth is the same. The Second Circuit clearly stated

 in Linde and in subsequent decisions that the provision of material support in the form of banking

 services to an FTO or an entity linked to an FTO is, without more, insufficient to establish civil

 aiding and abetting liability. Linde, 882 F. 3d at 329–30; Weiss, 993 F.3d at 164–65; Siegel v.

 HSBC N. Am. Holdings, Inc., 933 F.3d 217, 224 (2d Cir. 2019); Honickman v. Blom Bank SAL, 6

 F.4th 487 (2d Cir. 2021). In each of these cases, the Second Circuit has provided guidance as to

 the types of transactions that will give rise to liability and those that will not, using the framework

 of Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983), as its touchstone.




 15
     In 2007, the Magistrate Judge in Weiss ordered broad discovery of all transfers processed by NatWest for its
 customer, based on Judge Sifton’s ruling, citing Judge Gershon decision in Linde, that “even the provision of basic
 banking services,” without regard to the nature of the transactions processed, constituted an act of international
 terrorism for purposes of proving primary liability. Weiss v. Nat’l Westminster Bank, PLC, 453 F. Supp 2d 609, 625,
 631–32 (E.D.N.Y. 2006) (internal citation omitted). These early rulings in Weiss, expressly citing and relying on the
 district court decisions in Linde, thus rested on the same misreading of the ATA, with the same result. Following the
 Second Circuit’s decision in Linde, NatWest successfully moved for dismissal of the claims against it, with the Second
 Circuit upholding their dismissal on appeal. Weiss v. Nat’l Westminster Bank PLC, 381 F. Supp. 3d 223 (E.D.N.Y.
 2019), aff’d sub nom. Weiss v. Nat’l Westminster Bank, PLC., 993 F.3d 144 (2d Cir. 2021).


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         In Halberstam, the Court was careful to distinguish between the normal supportive

 activities of a spouse versus what it referred to as the defendant’s “collusive” conduct that

 evidenced her knowing assistance in Welch’s illegal activities, such as helping to “dispos[e] of the

 loot,” falsifying tax returns, smelting gold and silver in the basement, and “launder[ing] the loot,”

 because she “performed these services in an unusual way under unusual circumstances.” Id. at

 486–87. In Kaplan, the Second Circuit focused on evidence that the defendant bank had granted

 “special exceptions” to customers linked to Hezbollah that “permitted the laundering of money –

 nearly half a million dollars or dollar equivalents per day – in violation of regulatory restrictions

 meant to hinder the ability of FTOs to carry out terrorist attacks.” Kaplan v. Lebanese Canadian

 Bank, SAL, 999 F.3d 842, 858, 865 (2nd Cir. 2021). The Court distinguished these services from

 “routine banking services to the five customers in connection with non-violent social service

 activities.” Id. at 858.

         By contrast, in Weiss, evidence that the defendant bank had transferred funds for charitable

 or social service programs was dismissed as non-probative and immaterial to establishing

 secondary liability. 993 F. 3d at 166–67. And in Honickman, the Court outright rejected the theory

 that funds transferred for charitable purposes establishes aiding and abetting liability because such

 transfers make available other funds for terrorist attacks or support an FTO’s military operations

 by enhancing its reputation and attracting recruits. 6 F.4th at 499 (“[W]e reject Plaintiffs’ attempt

 to equate the Halberstam foreseeability standard with the ‘fungibility’ theory in Holder v.

 Humanitarian Law Project, 561 U.S. 1 (2010)”). The same discredited theory of liability is

 asserted here to support Plaintiffs’ overly broad Requests. See Pam Compl. at ¶ 167; Miller FAC

 at ¶ 331.




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         Accordingly, the Requests for all transfers processed on behalf of the charities and social

 service institutions, regardless of their nature, are far too broad. They seek information that is

 neither proportionate nor vital under Rule 26(b) or the Restatement to prove either primary or

 secondary liability. They should be narrowed to the 2000-2004 time period relevant to the attacks

 and specifically tailored to Plaintiffs’ claims in accordance with the law of the Circuit, excluding

 transfers for routine banking services related to charitable and humanitarian programs that are not

 identifiable as being for a terrorist purpose.

                 3.       Individuals Not Identified as Both Linked to an FTO And Closely
                          Intertwined with Its Terrorist Activities During the Relevant Time
                          Period (Category C)

         For primary liability, a bank must have knowledge of its customer’s connection to

 terrorism. Linde, 882 F.3d at 330. For secondary liability, it must (a) as a “threshold” requirement

 be aware of a customer’s connection to the FTO before the relevant attacks and (b) also be aware

 from public source information available prior to the attacks that its customer was “closely

 intertwined with the [FTO’s] violent terrorist activities.” Honickman, 6 F.4th at 501. (Emphasis

 added.) In Honickman, the Second Circuit rejected plaintiffs’ argument that knowledge based on

 “publicly available evidence” or on “facts that were previously knowable” would be sufficient,

 distinguishing between such evidence and “public sources such as media articles,” because the

 former “requires the implausible inference that the defendant was aware of those facts even before

 the news media.” Id. at 502 n.18. Thus, undated articles, undated website postings, references to

 classified government reports, intelligence sources, or materials that post-date the relevant time

 period are not sufficient to establish a Bank’s knowledge or liability under the ATA or JASTA.16

 Id.


 16
     The Court in both Honickman and Kaplan placed special emphasis on public source statements made by the FTO
 itself acknowledging these connections. Id. at 502; Kaplan, 999 F.3d at 864–65.


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         In their Requests, Plaintiffs seek the account records of 174 individuals for whom no public

 source material is cited prior to the attacks or to the individual’s death or imprisonment for a violent

 act, either in the Complaints, in the appendices to the Spitzen Report that Plaintiffs stated at the

 September 24, 2019, hearing would demonstrate the purported relevance of these Requests, or

 elsewhere. Saleski Decl., Ex. 8 (Sept. 24, 2019 Tr. at 24:14-21; 29:7-23) (representing that

 Appendices 4-24 of the Spitzen Report contained information on the majority of the names

 requested by Plaintiffs in this case). In short, while the Second Circuit opened the door to

 discovery of customer accounts based on citations to public source evidence available to a bank

 prior to terrorist attacks, it clearly did not do so where no such evidence is cited. Honickman, 6

 F.4th at 502 (dismissing claims against defendant bank where complaint failed to identify public

 source information during relevant time period identifying its customers as connected to an FTO

 and closely intertwined with its terrorist activities).

         Attached as Appendix 2 are Requests for the accounts of 146 individuals where Plaintiffs

 have failed to identify public sources demonstrating that the Bank knew or should have known

 during the relevant time period (or prior to the customers’ death or imprisonment) that the

 individuals were both (a) connected to an FTO and (b) closely intertwined with the FTO’s violent

 and terrorist activity. Accordingly, the Requests should be narrowed to eliminate production of

 their accounts.

         In addition, attached as Appendix 3 are Requests for the accounts of 28 family members

 whose relatives are alleged by Plaintiffs to be martyrs, leaders, or operatives of an FTO. See First




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 RFP Nos. 10(1)-(27);17 Second RFP Nos. 16(n).18 But none of the family members of these

 individuals referenced in this Appendix are themselves alleged in the pleadings to have been

 members of any FTO, much less closely intertwined with an FTO’s terrorist activity, nor have

 Plaintiffs cited any public source information identifying them as such. While Plaintiffs allege

 that the existence of martyr or prisoner payment programs may have incentivized their relatives to

 commit terrorist acts (a contested proposition, see supra, n.10), they do not allege that any of the

 family members who received these payments, and whose bank accounts Plaintiffs now seek, were

 themselves so incentivized or thereafter engaged in terrorist acts, justifying production of their

 personal accounts.19 Accordingly, the Requests for the accounts of the family members should be

 stricken.

                   4.       Individuals and Entities Allegedly Linked to an FTO During the
                            Relevant Time Period (Category D)

          The Requests identify a number of FTO leaders and related entities that Plaintiffs allege,

 based on public information, may have been known to be closely intertwined with terrorist

 activities. See Appendix 4 (listing 44 individuals and entities). To the extent any of these

 individuals or entities were customers of the Bank, it agrees to seek waivers from them. However,




 17
    These twenty-seven Requests are separate and distinct from requests for the bank documents relating to the actual
 alleged martyr, leader, or operative. Compare Saleski Decl., Ex. 4 (First RFP Nos. 10(1)-(27), with First RFP Nos.
 2(a)-(cc)).
 18
    This Request is interwoven with requests for bank documents relating to the actual alleged martyr, leader, or
 operative. Compare Saleski Decl., Ex. 5 (Second RFP No. 16(n), with Second RFP No. 16(o).).
 19
    Nor is there any law (Palestinian, Israeli, or United States) that penalizes the families or subjects them to criminal
 liability for receipt of such payments. As Jeroen Gunning observed at 102 in Terrorism, Charities and the diaspora
 published in “Countering the Financing of Terrorism,” edited by T. Biersteker and S. Eckert, “According to Article
 33 of the Geneva Convention, no person in a conflict situation ‘may be punished for an offence he or she has not
 personally committed.’ Refusal of humanitarian assistance to a family on the ground that the father (or mother) of the
 family has committed a terrorist act would thus arguably constitute a breach of the Geneva Convention.” Saleski
 Decl., Ex. 16 (T. Biersteker & S. Eckert, “Countering the Financing of Terrorism” at 102.)


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 just as providing banking services to an FTO, without more, is insufficient to establish primary or

 secondary liability, so is the provision of banking services to a leader of an FTO without more.

        For the reasons already discussed supra, at pp. 18–20, these Requests are overbroad,

 including within their scope personal information unrelated to terrorist activity. The Requests

 should be narrowed to account information involving transfers during the period 2000-2004 that

 either on their face, or by their unlawful nature, could foreseeably result in terrorist attacks, such

 as transfers to those engaged in military operations, suicide bombings, the purchase of weapons,

 or other non-routine transactions, based on agreed-to search terms.

                5.      The Palestinian Government and Political Parties (Category E)

        The Second RFP Nos. 17(a)-(c), (f)-(g), (m)-(p), 15(a), and 24–25 seek all banking

 transactions for the Palestinian Liberation Organization (“PLO”) (and its former Chairman Yasser

 Arafat), Fatah, and various ministries and departments of the Palestinian Authority (“PA”). See

 Appendix 5 (listing 13 names in this category). Arab Bank assumes that Plaintiffs made these

 Requests to ensure that any Letters Rogatory containing them would be denied by the Palestinian

 government since all four were or are integral to the operation of the Palestinian Government and

 partners of the United States in the peace process with Israel; unlike Hamas or the FTOs cited in

 the Complaints that refuse to recognize Israel’s right to exist. Plaintiffs’ wholesale requests for

 transactions between the Bank and the Palestinian government are clearly overbroad and designed

 to harass.

        The PA was created by the Gaza-Jericho Agreement, signed by Israel and the PLO on May

 4, 1994, to administer Palestinian self-governance in the Territories. See Saleski Decl., Ex. 17

 (Agreement on the Gaza Strip and the Jericho Area (May 4, 1994) at Article II, Scheduled

 Withdrawal of Israeli Military Forces). The Agreement expressly authorized the PA, among other

 things, to establish the Palestine Monetary Authority (“PMA”) with responsibility for, inter alia,


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 regulation, supervision, and inspection of all banks operating in the Territories, including Israeli

 banks. See Saleski Decl., Ex. 18 (Gaza-Jericho Agreement, Annex IV: Protocol on Economic

 Relations between the Government of State of Israel and the PLO, Representing the Palestinian

 People (April 29, 1994) at Article IV, Monetary and Financial Issues, §§ 2,7.)

        Notwithstanding their early history of resistance to Israel, in 1988, the Fatah-led PLO

 recognized the existence of Israel and accepted the two-state solution. Saleski Decl., Ex. 19 (AP

 News, Arafat Endorses Statement Recognizing Israel’s Right to Exist (Dec. 7, 1988).). In 1993,

 the PLO signed the Oslo Accords, and in 1994, as noted, the Gaza Jericho Agreement, with Fatah

 winning the majority of seats in the Palestinian Legislative Council in 1996. Saleski Decl., Ex. 20

 (Encyclopedia Britannica, “Two-State Solution”.) The PLO represents the Palestinian people at

 the United Nations as “The Permanent Observer Mission of the State of Palestine to the United

 Nations.” Saleski Decl., Ex. 21 (Permanent Observer Mission of the State of Palestine to the

 United Nations, “Palestine Liberation Organization.”)

        The Requests directed at the PA’s internal departments, the PLO, and Fatah are designed

 to fail. They also violate Rule 26(b) and the Restatement factors. Second RFP Nos. 17(a), (n)-

 (p), and 25, request the accounts of various ministries and departments of the PA. But there is no

 allegation in the pleadings that the PA directed transfers in violation of its own laws and banking

 regulations or for violent terrorist activities. Similarly, Second RFP No. 24, seeks all of the PLO’s

 bank accounts, absent any factual allegations in the Complaints that the Bank processed any

 transactions for the PLO in furtherance of terrorist activity. As noted supra, the 2015 Amendments

 to Rule 26(b) tied relevance to proportionality and abolished the “reasonably calculated to lead to

 admissible evidence” standard. See 2015 Committee Notes. In the absence of any factual

 allegation that the Bank had an account or processed violent, life-endangering, or unlawful




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 transactions for the PA or PLO, these Requests are neither relevant and proportional nor vital; they

 are fishing expeditions. Finally, Second RFP Nos. 17(b), (c), (f), (g), and (m), relating to Fatah or

 Fatah’s social service-related entities, should be stricken. Although the Complaints at least allege

 that Fatah itself had an account at the Bank, there are no factual allegations (a) that the account

 was used by Fatah for any improper transactions, (b) that any of the affiliated social service entities

 identified in these Requests had accounts at the Bank, or (c) that the Bank processed any unlawful

 or terror-related transactions on behalf of these social service entities.

        Accordingly, these Requests should be denied by the Court.

 II.    THE COURT SHOULD DEFER ORDERING THE BANK TO VIOLATE THE
        LAWS OF FOREIGN SOVEREIGNS OR, IN THE ALTERNATIVE, GRANT A
        PROTECTIVE ORDER PERMITTING THE BANK TO WITHHOLD ALL
        OUTSTANDING DISCOVERY OF DOCUMENTS LOCATED IN JORDAN,
        LEBANON, AND THE PALESTINIAN TERRITORIES

        While this Court has the authority, where appropriate, to order Arab Bank to violate the

 bank secrecy laws of Jordan, Lebanon, and the Palestinian Territories, the issue is whether it should

 exercise that authority at this time. It should not. Rather, it should defer doing so in order to give

 the Bank an opportunity to produce documents in response to properly drawn requests without

 violating the laws of these foreign sovereigns.

        This Court took the first step in avoiding a potentially unnecessary conflict with all three

 foreign governments by issuing Letters Rogatory requesting that they authorize the Bank to

 produce documents from certain bellwether customer accounts. The Court should now complete

 the process by allowing the Bank to produce documents, without ordering it to violate foreign law,




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 through a good faith attempt to obtain customer waivers for Requests approved by this Court that

 comply with Rule 26(b) and the Restatement factors.20

          Courts in this Circuit have long abided by a deferential approach, as the Bank urges here,

 in order to avoid unnecessary conflict with foreign law. See, e.g., Application of Chase Manhattan

 Bank, 297 F.2d 611, 613 (2d Cir. 1962) (affirming an order modifying a subpoena duces tecum for

 bank records located in Panama to avoid violating Panamanian law because “[j]ust as we would

 expect and require branches of foreign banks to abide by our laws applicable to the conduct of

 their business in this country, so should we honor their laws affecting our bank branches which

 are permitted to do business in foreign countries.”). The Second Circuit has explained, “[u]pon

 fundamental principles of international comity, our courts dedicated to the enforcement of our laws

 should not take such action as may cause a violation of the laws of a friendly neighbor or, at the

 least, an unnecessary circumvention of its procedures.” Ings v. Ferguson, 282 F.2d 149, 152–53

 (2d Cir. 1960). This principle aligns with precedent of the U.S. Supreme Court, which not only

 strongly favors comity, but also criticizes lower courts for failing to sufficiently account for foreign

 interests in litigation with collateral consequences felt beyond the United States’ borders. See

 Daimler AG v. Bauman, 571 U.S. 117, 141–42 (2014) (declining to extend general jurisdiction

 because of “[c]onsiderations of international rapport” and criticizing the lower court for paying

 “little heed to the risks to international comity its expansive view of general jurisdiction posed[.]”).




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     Contrary to Plaintiffs’ assertion at the January 20, 2022, conference that waivers would allow customers to
 determine what they will or will not produce, the waivers will be sought based upon what this Court decides are
 proper Requests under Rule 26(b) and the Restatement. Plaintiffs have also asserted that the Bank could have sought
 these waivers at any time over the past two years. Not true. Seeking waivers based on the overly broad Requests that
 are the subject of Point I of this memorandum would have been doomed to failure. No individual or entity, whether
 a U.S. citizen or a Palestinian, would likely agree to produce seven years of their bank statements to an individual they
 do not know in a lawsuit to which they are not a party. That is why, of course, requesting blanket waivers from the
 foreign governments through letters rogatory made initial sense and presumably why the Court, itself, expressed the
 hope that it might be able to avoid addressing issues of scope pending the response of the foreign governments.


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        This principle is at its apex in the context of private civil litigation seeking discovery abroad

 that pits U.S. interests in the enforcement discovery obligations under the Federal Rules of Civil

 Procedure against the interests of other sovereign nations in the enforcement of their substantive

 laws. As the Supreme Court has recognized, “[i]t is well known that the scope of American

 discovery is often significantly broader than is permitted in other jurisdictions.” Aerospatiale, 482

 U.S. at 542. This can create “special problem[s]” for foreign litigants. See id. at 546. Accordingly,

 the Supreme Court has cautioned:

        American courts, in supervising pretrial proceedings, should exercise special
        vigilance to protect foreign litigants from the danger that unnecessary, or unduly
        burdensome, discovery may place them in a disadvantageous position. Judicial
        supervision of discovery should always seek to minimize its costs and
        inconvenience and to prevent improper uses of discovery requests. When it is
        necessary to seek evidence abroad, however, the district court must supervise
        pretrial proceedings particularly closely to prevent discovery abuses.

 Id. (emphasis added).

        While the Bank proposes a course of action—i.e., seeking customer waivers—designed to

 avoid potential conflict between this Court and the governments of Jordan, Lebanon, and the

 Palestinian Territories, should the Court nonetheless decide to issue a definitive order addressing

 bank secrecy now without regard to the outcome of efforts to seek customer waivers, international

 comity warrants a protective order permitting the Bank to withhold all outstanding discovery of

 documents located in Jordan, Lebanon, and the Palestinian Territories.

        A.      Application of Restatement Factors

                1.       Plaintiffs’ Remaining Discovery Is Not Crucial to the Litigation and,
                         Therefore, Is Not “Important”

        The Restatement’s demanding “importance” factor requires a showing the “records might

 have a vital influence upon this litigation” and be “crucial in the outcome of this litigation.”

 Rogers, 357 U.S. at 201, 204–05 (emphasis added); see also Minpeco, 116 F.R.D. at 528;



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 Richmark, 959 F.2d at 1475; In re Westinghouse Elec. Corp. Uranium Contracts Litig., 563 F.2d

 992, 999 (10th Cir. 1977) (reversing a contempt and sanctions finding after analyzing whether the

 litigation would “stand or fall on the present discovery order”); In re Vitamins Antitrust Litig., No.

 99-197TFH, 2001 WL 1049433, at *9 (D.D.C. June 20, 2001) (assessing “importance” in terms

 of whether the “requested information is absolutely essential to [plaintiffs’] case”); In re: Xarelto

 (Rivaroxaban) Prod. Liab. Litig, No. MDL 2592, 2016 WL 3923873, at *14 (E.D. La. July 21,

 2016) (surveying precedent and assessing “importance” in terms of whether the evidence is

 “critical or compelling”). See also In re Rubber Chemicals Antitrust Litig., 486 F. Supp. 2d 1078,

 1082 (N.D. Cal. 2007) (denying Plaintiffs’ motion to compel in part because the documents were

 not important and stating, “[C]ourts are less inclined to ignore a foreign state’s concerns where the

 outcome of litigation does not stand or fall on the present discovery order, or where the evidence

 sought is cumulative of existing evidence . . . Here, plaintiff has failed to persuade me of the

 importance of the [ ] documents.”) (internal quotations and citations omitted); Wang v. Wu, SA

 CV 16-84 GW (MRWx), 2016 WL 10957847, at *3 (C.D. Cal. Dec. 7, 2016) (denying a motion

 to compel additional and explaining, “the Court is not inclined to order CTBC to search for or

 produce materials that are potentially responsive to Plaintiff's disputed discovery requests.”).

        As discussed in detail above in Point I supra, the documents Plaintiffs seek here do not

 meet this exacting standard. Accordingly, this factor weighs in favor of a protective order.

                2.      Degree of Specificity of the Requests

        Similarly, as discussed above in Point I, supra, the Requests lack specificity because they

 seek, among other documents, all conceivable bank records for 673 individuals and entities,

 without regard to whether the individuals or entities have any connection to terrorism and without

 limiting the records sought to transfers involving violent or life endangering acts by the Bank (for

 primary liability), or transactions that bore red flags that were performed in “an unusual way, under


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 unusual circumstances” from which terrorist acts are reasonably foreseeable—such as money

 laundering or cash bribes in violation of anti-terrorism laws (for secondary liability). Plaintiffs, as

 an example, make no attempt to specify among the records of the 673 individuals and entities

 between such transactions and ordinary lawful routine banking, such as transactions for

 humanitarian purposes, which cannot form the basis of a claim under Second Circuit precedent.

 See Linde, 882 F.3d at 329; Weiss, 993 F.3d at 162, 166. Plaintiffs likewise have made no effort

 to grapple with the fact that one of their main theories—fungibility of money—has been rejected

 such that their requests require more specificity. See Honickman, 6 F.4th at 498–99.

        As the Requests lack regard for the state of the law, they necessarily are not specifically

 tailored to the (lawful) claims and defenses in this litigation. This factor, therefore, also weighs in

 favor of a protective order.

                3.      Whether the Information Originated in the United States

        It is undisputed that the bank records at issue were created and are located outside of the

 United States. Indeed, Plaintiffs’ Requests explicitly targeted documents in Jordan, Lebanon, and

 the Palestinian territories. Saleski Decl., Ex. 4 (Plaintiffs’ First RFP); Saleski Decl., Ex. 5 (Second

 RFP.) The overseas location of the evidence weighs in favor of a protective order. Tiffany (NJ)

 LLC v. Qi Andrew, 276 F.R.D. 143, 152 (S.D.N.Y. 2011).

                4.      Availability of Alternative Means of Securing Information

        The critical question under this factor is “whether there are ‘alternative means of securing

 the [requested] information.’” DoubleLine Capital LP v. Oderbrecht Finance, Ltd., 17-cv-4576

 (GHW) (BCM), 2021 WL 4596561 at *13 (S.D.N.Y. Oct. 6, 2021) (citing Wultz v. Bank of China

 Ltd., 298 F.R.D. 91, 96 (S.D.N.Y 2014)). Those means could include any of the variety of

 discovery tools available to civil litigants to limit the scope of their requests and obtain necessary

 information from other sources in accordance with the Rules of Evidence. Plaintiffs, for example,


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 in Linde, produced documents such as Israeli intelligence or police interrogation reports of persons

 referenced in their Requests in that case that were obtained from a source other than the Bank.

 Plaintiffs can also seek banking records in the possession of third-party. The Israeli government,

 which has an obvious and compelling interest in assisting victims of terrorism pursue their claims

 and is not bound by the bank secrecy laws applicable to Arab Bank.21 Plaintiffs’ counsel has in

 other cases alleged that Israeli forces have seized such records from raids on institutions, including

 banks, in the Territories, and has referenced such documents, as well as various Israeli intelligence

 reports, in these other cases.22

                  5.       Balancing National Interests

         The fifth factor, “the balancing of national interests is the most important [factor], as it

 directly addresses the relations between sovereign nations.” Nike, Inc. v. Wu, 349 F. Supp. 3d

 310, 338 (S.D.N.Y. 2018) (emphasis added) (internal citation omitted). The United States has a

 broad range of interests in this matter—many of which counsel in favor of a protective order. The

 only interest that does not is the interest in enforcing discovery obligations. Tiffany, 276 F.R.D.

 at 157; see also Compagnie Francaise d’Assurance Pour le Commerce Exterieur v. Phillips

 Petroleum Co., 105 F.R.D. 16, 30 (S.D.N.Y. 1984). But that interest pales in comparison to the

 other interests of the United States and the foreign governments.

         First and foundationally, as explained in the comments to the Restatement, the court should

 take into account “the long-term interests of the United States generally in international

 cooperation in law enforcement and judicial assistance,” which includes “giving effect to formal


 21
    In the Palestinian Territories, the Bank is required to report all transactions processed by its local branches—
 regardless of dollar value—to the PMA on a weekly or monthly basis depending on the time period. Under the 1994
 Oslo Accords, the PMA has the authority to share this information with the Israeli government and, upon information
 and belief has done so where appropriate. Saleski Decl., Ex. 3 (Kamal Decl. ¶ 25).
 22
   See e.g., Saleski Decl., Ex. 22 (Second Amended Complaint filed by same counsel in Averbach v. Cairo Amman
 Bank, 1:19-cv-00004, ECF No. 96 (E.D.N.Y.) at ¶¶ 585, 676, 707, 713, 794).


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 or informal international agreements, and in orderly international relations.” Id. at cmt. c. To

 account for these interests, the Advisory Committee recommended asking the “United States

 attorney or other appropriate official to advise it of the interests of the United States government.”

 The U.S. Government was invited to do just that by the Supreme Court in Linde. The Government

 identified key interests that the Linde district court did not account for, including maintaining:

 “close cooperative relationships with Jordan and other key regional partners in the fight against

 terrorism,” and “the stability of Jordan’s financial and political system.” Saleski Decl., Ex. 23

 (Brief for United States as Amicus Curiae at 18-20).

        The Government’s concerns, as expressed in its brief, are easily and objectively affirmed.

 The Bank plays a key role in the Middle East economy and has accounted for 20% to 33% of the

 total market capitalization of the Amman Stock Exchange in recent years. Saleski Decl., Ex. 24

 (2017 Brief for the Hashemite Kingdom of Jordan as Amicus Curiae at 8.) It is the largest financial

 entity in Jordan, the West Bank and Gaza. Saleski Decl., Ex. 27 (2013 Brief for the Hashemite

 Kingdom of Jordan as Amicus Curiae at 2); see also Saleski Decl. Ex. 23 (Brief for United States

 as Amicus Curiae at 20.) The Bank processes foreign financial assistance payments from the

 United States; finances the public debt, and processes customs clearance revenues from Israel,

 which represent the overwhelming majority of Palestinian Authority revenue. Saleski Decl., Ex.

 24 (2017 Brief for the Hashemite Kingdom of Jordan as Amicus Curiae at 8); see also Saleski

 Decl. Ex. 23 (Brief for United States as Amicus Curiae at 20-21.) Therefore, as an example, should

 the Bank lose its banking license or the public trust as a result of being ordered to violate bank

 secrecy laws by this Court, the effect would be significant and hard felt throughout the Middle

 East economy.




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        Thus, as the Government explained, although private actions under the ATA can be a

 means of combatting terrorism, the District Court’s manner of advancing that interest has potential

 negative impacts on the broader international relations interests at stake. Saleski Decl. Ex. 23

 (Brief for United States as Amicus Curiae at 19.) Point in fact, the Jordanian government, which

 has long been viewed as the U.S. Government’s closest ally in the region, viewed the Linde court’s

 decision to require production of documents protected by Jordanian bank secrecy laws and to

 impose sanctions as a “direct affront” to its sovereignty. (Id.) No doubt this played no small role

 in the decision by the U.S. Government to declare in its brief that the comity analysis employed

 by the District Court was “flawed.” (Id. at 12.)

        Second, even where “private litigants may be asserting a federal statutory claim that

 embodies important U.S. interests, their document requests do not reflect a specific determination

 by the Government that the request is sufficiently in the public interest to warrant the adverse

 consequences that could ensue.” (Id. at 14.) Courts commonly distinguish between criminal or

 civil enforcement proceedings (which obtain great deference), and private civil litigations (which

 enjoy much less deference). Compare U.S. v. Vetco Inc., 691 F.2d 1281, 1289 (9th Cir. 1981)

 (U.S. Government has a strong interest in collecting taxes and prosecuting tax fraud that

 outweighed Switzerland’s interest in preserving business secrets of Swiss subsidiaries of United

 States parent corporations), cert. denied, 454 U.S. 1098 (1981), with Reinsurance Co. of America,

 Inc. v. Administratia Asigurarilor de Stat (Admin. of State Ins.), 902 F.2d 1275, 1280 (7th Cir.

 1990) (United States’ interest in enforcing private judgment is outweighed by “vigorously

 enforced” Romanian secrecy law).

        A request by the Government “reflects the Executive Branch’s conclusion, in the exercise

 of its responsibility for both foreign affairs and the enforcement of laws requiring production, that




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 disclosure would be consistent with both the domestic public interest and international comity

 concerns.” Saleski Decl., Ex. 23 (Brief for United States as Amicus Curiae at 13.) However,

 “[p]rivate requests may intrude more deeply on foreign sovereign interests because private parties

 often do not exercise the degree of self-restraint and consideration of foreign governmental

 sensibilities generally exercised by the U.S. Government.” (Id. at 14.) (internal quotation marks

 and citation omitted). That can be seen clearly in Plaintiffs’ Requests in this case, which, in direct

 opposition to the needs of their case, are sweeping in scope without justification and explicitly

 target documents protected by foreign bank secrecy laws.

        Indeed, Jordan, Lebanon, and the PA drew that distinction here. The PA advised this Court

 that “[it] cooperates with the United States of America in the fight against terrorism, and whenever

 the U.S. Government seeks cooperation in the investigation of activities that involve terrorism,

 money laundering or other illegal activities[.]” Saleski Decl., Ex. 11 (Oct. 28, 2021 Palestinian

 Minister of Justice’s Response at 2) (emphasis added). However, the PA explained, “with regard

 to the current civil lawsuit and the request for documents on behalf of private litigants seeking

 monetary relief for damages, it is not possible to execute such a request[.]” (Id.) (emphasis

 added.) The Palestinian Banking Law does not permit the disclosure of bank records in private

 civil litigation in the Territories or anywhere else, because “[t]he bank privacy provisions are

 essential to encourage the development of a banking sector that attracts the trust and confidence

 of a population that had a serious mistrust of the system. . . . [I]ts absence would lead to [the

 banking system’s] collapse and thus economic, social and political instability.” (Id .at 3.) The PA

 explained that without these protections, “[p]eople will distrust the system” and lose “confidence

 in the banking system in Palestine.” (Id.) Similarly, both Jordan and Lebanon explained that their

 laws do not permit exceptions to bank secrecy for the private civil discovery requested in their




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 respective letters rogatory.23 Saleski Decl., Ex. 10 (Oct. 12, 2021 Central Bank of Jordan Response

 at 1), Ex. 11 (Oct. 28, 2021 Palestinian Minister of Justice’s Response at 1-2, 4) (emphasis added).

         Here, the U.S. interest in enforcing broad discovery requests in a private civil litigation is

 outweighed by competing U.S. foreign policy interests in the Middle East, including promoting

 economic stability in the Palestinian Territories with a bank that the U.S. Government has

 described as a “leader in the fight against international terrorism” and not offending its closest ally

 in the region, Jordan, by overriding its bank secrecy laws in a dispute between private parties. Cf.

 Aerospatiale, 482 U.S. at 548 (Blackmun, J., dissenting) (“I fear . . . courts will resort unnecessarily

 to issuing discovery orders under the Federal Rules of Civil Procedure in a raw exercise of their

 jurisdictional power to the detriment of the United States’ national and international interests.”).

         The interests of the foreign governments that this Court must consider are also weighty.

 All nations have a substantial interest in the vigorous and uniform enforcement of their substantive

 laws, particularly their criminal laws. See, e.g., Minpeco, 118 F.R.D. at 333 (holding that

 Switzerland has a “substantial” national interest in enforcement of its criminal law). Moreover,

 the bank secrecy laws at issue here advance specific sovereign interests in protecting the stability

 and integrity of their nations’ financial systems, which rely on public trust in financial institutions.

 Saleski Decl., Ex. 1 (Odeh Decl. at ¶¶ 16-20), Saleski Decl., Ex. 2 (Cortbaoui Decl. at ¶¶ 5-6, 11-

 12), Saleski Decl., Ex. 3 (Kamal Decl. at ¶¶ 10-12, 23-26.)

         Personal banking records obviously can reveal a person’s most sensitive information,

 which is why nations provide for the protection of financial privacy. This interest is not diminished




 23
    Notably, according to the U.S. State Department, “The United States deeply values its long history of cooperation
 and friendship with Jordan, with which it established diplomatic relations in 1949 . . . Jordan has an enhanced
 partnership with NATO and is a key partner in the U.S. and Arab Coalition to defeat ISIS.” See Saleski Decl., Ex. 25
 (U.S. Dep’t of St., U.S. Relations with Jordan (Dec. 30, 2020)).



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 by the fact that the foreign bank secrecy laws at issue here (which are similar to bank secrecy laws

 throughout the European Union) are more protective of privacy and embody a different philosophy

 than that reflected in U.S. law. As the Second Circuit has held, U.S. courts “have an obligation to

 respect the laws of other sovereign states even though they may differ in economic and legal

 philosophy from our own.” Application of Chase Manhattan Bank, 297 F.2d at 613.

        Accordingly, in the circumstances of this case, the U.S. interest in the enforcement of its

 discovery rules in a litigation between private parties is outweighed by the other interests of the

 U.S. Government (as stated in its Supreme Court Amicus Curiae brief) and by the foreign

 governments that weigh in favor of respecting foreign bank secrecy. That fact weighs heavily in

 favor of a protective order.

        B.      Additional Factors Also Weigh in Favor of a Protective Order

        In addition to the Restatement factors, courts in the Second Circuit also weigh two other

 considerations: (1) any hardship the responding party would suffer if it complied with the

 discovery demands; and (2) whether the responding party has proceeded in good faith. See, e.g.,

 Milliken & Co. v. Bank of China, 758 F. Supp. 2d 238, 246 (S.D.N.Y. 2010). These factors also

 weigh in favor of a protective order.

                1.      Arab Bank Would Suffer Significant Hardship If It Produced
                        Documents Protected by Bank Secrecy

        If Arab Bank were ordered by the Court to violate the foreign bank secrecy laws of Jordan,

 Lebanon and the Palestinian Territories and thereafter produced documents in violation of those

 laws, both the Bank and its employees could face criminal prosecution, as well as other devastating

 repercussions like loss of the Bank’s license. Saleski Decl., Ex. 1 (Odeh Decl. at ¶¶ 28, 37-39),

 Saleski Decl., Ex. 2 (Cortbaoui Decl. at ¶¶ 15-19), Saleski Decl., Ex. 3 (Kamal Decl. at ¶¶ 10-12,

 23-26); see also Saleski Decl., Ex. 6, (Defendant Arab Bank PLC’s Responses and Objections to



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 Plaintiffs’ First Request for the Production of Documents), Ex. 7, (Arab Bank, PLC’s Responses

 and Objections to Plaintiffs’ Second Request for the Production of Documents), and Ex. 8, (Sept.

 24, 2019 Tr. at 5:18-21; 37:6-38:7.) That is an immense hardship. The Bank cannot ask its

 employees to subject themselves to imprisonment or risk having its doors shuttered. The Supreme

 Court has recognized, “[i]t is hardly debatable that fear of criminal prosecution constitutes a

 weighty excuse for nonproduction, and this excuse is not weakened because the laws preventing

 compliance are those of a foreign sovereign.” Rogers, 357 U.S. at 211; see also Rotstain v.

 Trustmark Nat’l Bank, 09-cv-2384-N-BG, 2015 WL 13031698, at *4 (N.D. Tex. Dec. 9, 2015)

 (declining to compel production of foreign documents because the defendant bank “may be subject

 to criminal, civil, and administrative penalties”). In addition, the Bank would likely be subject in

 all three jurisdictions to lawsuits seeking large amounts of compensation by customers whose right

 to confidentiality has been breached.

                2.      Arab Bank Has Acted in Good Faith

        Finally, the record thus far demonstrates Arab Bank’s good faith compliance with

 discovery in this case. First, it worked diligently to identify and produce on a timely basis all

 responsive documents that are not subject to applicable bank secrecy laws. Second, the Bank

 promptly produced all responsive foreign bank transfer records of the Saudi Committee pursuant

 to that Committee’s waiver of bank secrecy. Third, the Bank also produced all foreign account

 records for Osama Hamdan. See Saleski Decl. Ex., Ex. 4 (Plaintiffs’ First RFP Nos. 1, 2(e).) To

 do so the Bank obtained the consent of Lebanese Government Authorities in Linde. Fourth,

 without waiver of its objections as to relevance, overbreadth, and proportionality, the Bank agreed

 to produce on a rolling basis responsive records located in the United States for all 673 persons

 and entities listed in the Requests, since those U.S.-based records are not subject to foreign bank

 secrecy laws. Saleski Decl., Ex. 26 (Jan. 30, 2020 Email from B. Ingerman.) Fifth, the Bank


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 identified, recovered, and produced documents existing on outdated software that could no longer

 be run on current systems. Sixth, the Bank worked closely with the Court and Plaintiffs to fashion

 and serve Letters Rogatory to secure the foreign-based documents in compliance with foreign bank

 secrecy laws. Finally, the Bank has shown its good faith by expressing its willingness to seek

 waivers on a case-by-case basis from its customers for any Requests this Court finds are relevant

 and proportionate to the needs of the case, rather than the current broad Requests that will be

 rejected out of hand.

        Because all of the above-stated factors weigh in favor of the Bank’s request for a protective

 order based on bank secrecy, it should be granted should the Court choose to address that issue

 now. The Bank, however, urges the Court not to decide the issue prematurely—particularly if it

 were to disagree with the Bank because it would be premature to order the Bank, at Plaintiffs’

 request, to violate foreign bank secrecy laws with the attendant consequences that entails at this

 time. The Bank respectfully submits that, in the interests of international comity, the Court defer

 its decision in that regard pending the outcome of the Bank’s efforts to secure voluntary customer

 waivers to produce documents responsive to Requests the Court has narrowed to comply with Rule

 26(b) and the Restatement.

                                         CONCLUSION

        Wherefore, Arab Bank respectfully requests that the Court enter a Protective Order limiting

 the Bank’s discovery obligations as follows:

    1. Narrowing the Requests identified in Categories A through E above to comply with Rule

        26(b) of the Federal Rules of Civil Procedure and Section 442(1)(c) of the Restatement

        (Third) of Foreign Relations Law;




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    2. Deferring a decision on whether to order the Bank to violate the bank secrecy laws of

       Jordan, Lebanon and the Palestinian Territories pending the outcome of the Bank’s attempt

       to obtain customer waivers and produce documents in response to discovery Requests that

       this Court deems appropriate; and/or

    3. In the alternative, granting the Bank’s request that it not be required to produce documents

       located abroad that it is prohibited from legally producing under foreign bank secrecy.




 Dated: March 4, 2022                                Respectfully submitted,

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              Appendix 1: Category B, Charities and Social Services Institutions
                         Name                             Miller/Pam Reference
                    Al Ansar Society                     RFP2: 22, 32; RFP1: 10, 11
                  Al Aqsa Foundation                            RFP1: 5(e)
   Al Nur Prisoner Society - Gaza, a/k/a the Charity            RFP1: 4(k)
      Society for Caring for the Prisoners and the
   Martyrs’ Families (Jam’iyat Al-Nur al-Khairiya L-
         Ri’ayat al-Asra Wa-Usar al-Shuhada)
   Al-Huda Women Society (Jam’iyat al-Huda al-                   RFP1: 4(l)
                       Nisa’iya)
       Al-Ihsan Charitable Society in Tulkarem                   RFP2: 3(d)
       Al-Ihsan Charitable Society in Bethlehem                  RFP2: 3(a)
          Al-Ihsan Charitable Society in Gaza                    RFP2: 3(b)
          Al-Ihsan Charitable Society in Jenin                   RFP2: 3(c)
  Al-Islah Charitable Society – Ramallah & Al-Bireh              RFP1: 4(j)
      (Jam’iyat al-Islah al- Khiriya al-Ajthamiya
                 Ramallah wal-Bireh)
                Al-Jam’iya Al-Islamiya                           RFP1: 4(b)
   Al-Jama'a al-Islamiya a/k/a al-Rabita al Islamiya             RFP2: 3(f)

     Al-Karmel Cultural and Social Development                  RFP2: 10(a)
                     Association
                 Al-Mujama Al-Islami                             RFP1: 4(a)
     Al-Qawasmeh Neighbourhood Charity a/k/a                     RFP2: 17(l)
    Charitable Al-Qawasmeh Neighborhood Society

      Al-Salah (Jam’iyat al-Salah al-Islamiya )                  RFP1: 4(c)
  Al-Tadamun Charitable Society – Nablus (Jam’iyat               RFP1: 4(g)
     Al-Tadamun al-Khiriya al-Islamiya Nablus)

   Banners of Charity a/k/a Bayareq al-Ataa Society              RFP2: 3(g)

   CBSP a/k/a Comité de Bienfaisance et de Secours               RFP1: 5(d)
                  Aux Palestiniens
     Cultural Forum of Palestinian Islamic Jihad                 RFP2: 3(i)
                      Women
                Dar al-Huda Society                             RFP2: 3(e)
          Development Charitable Society                        RFP2: 17(i)
      Fund for Support of the Persistence of the             RFP2: 28, RFP2: 29
                 Palestinian People
       General Union of Palestinian Students                    RFP2: 17(d)
                 Give Gaza Society                              RFP2: 17(j)
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                      Name                               Miller/Pam Reference
   Health Work Committees a/k/a Union of Health               RFP2: 10(b)
                Work Committees
  Holy Land Foundation for Relief and Development             RFP1: 5(b)

    Interpal a/k/a Palestine Relief and Development           RFP1: 5(c)
                           Fund
   Islamic An-Naqqa Society for Women Bethlehem               RFP2: 3(h)
   a/k/a Islamic Women Charitable Society for Purity

   Islamic Charitable Society – Hebron (Al Jam’iya            RFP1: 4(d)
           al-Khiriya al-Islamiya al- Khalil)
    Jenin Zakat Committee (Lajnat al-Zakah Jenin)             RFP1: 4(e)

   Nablus Zakat Committee (Lajnat al-Zakah Nablus)            RFP1: 4(f)

               Progressive Labor Front                       RFP2: 10(d)

   Ramallah – al-Bireh Zakat Committee (Lajnat al-            RFP1: 4(i)
              Zakah Ramallah wal- Bireh)
     Tulkarem Zakat Committee (Lajnat al-Zakah                RFP1: 4(h)
                      Tulkarem)
       Union of Agricultural Work Committees                 RFP2: 10(c)
           Union of Good (I’tilaf al-Khayr)                  RFP1: 5(a)
      Union of Palestinian Women’s Committee                 RFP2: 10(e)
   Welfare Association for Palestinian and Lebanese          RFP1: 5(f)
  Families a/k/a Waqifiya Ri’aya al-Usra al-Filistinya
                   wa al-Lubnanya
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       Appendix 2: Category C.1, No Public Sources Showing that the Bank Knew or Should
         Have Known During the Relevant Period (or Prior to the Individual’s Death or
      Imprisonment) that the Individuals Were Both (a) Connected to an FTO and (b) Closely
                    Intertwined with the FTO’s Violent and Terrorist Activity


 Name          RFP          RFP             Sources Cited in Complaint or Provided by Plaintiffs1; OFAC
                          Category                                 Designation

Abd al-       RFP1:       Hamas          Died 5/15/2001.
Hakim         2(d)                       Public sources post-date death. Source: Spitzen Report (2011) cites
Ali al-                                  Alrepat (4/2008); Al Qassam (dates indicate 2007); Al Qassam
Mana’am                                  (5/15/02); Al Bawaba (2001 - indicates he died).
eh                                       Individual not designated by OFAC.
                                         No reference in complaint.
Ismail        RFP1:       Hamas          Public sources post-date relevant time period. Sources: Spitzen
Abd Al        2(f)                       Report (2011) cites Al Watan Voice (9/30/2019); Spitzen Appendix
Salam                                    (2011) cites Alkotla (3/2009).
Haniyeh                                  Designated by OFAC 4/2006
a/k/a
Ismail
Haniya
Huda          RFP1:       Hamas          No public source.
Ahmad         2(k)                       Individual not designated by OFAC.
Darwazah                                 Complaint alleges received funds transfers.

Jamal         RFP1:       Hamas          Died 7/31/2001.
Salim         2(n)                       Public sources post-date death. Source: Spitzen Report (2011) cites:
Damuni                                   Milstein, The Green Revolution (published in 2007); Aviad, Lexicon
                                         of the Hamas Movement, (published in 2008); Palestoday Report
                                         (2006); Alqassam (2011); Alqassam (2011); Palestine-info (2006);
                                         Palestine-info (2014).
                                         Individual not designated by OFAC.
                                         Complaint alleges, among other things, that Jamal Salim Damuni was
                                         a Hamas leader and received funds transfers.
Muna          RFP1:       Hamas          Public sources post-date relevant time period. Source: Spitzen Report
(Mina)        2(o)                       (2011) citing: Milstein, The Green Revolution (2007); Aviad, Lexicon
Mansur        RFP1:                      of the Hamas Movement, (published in 2008); Palestine-info (2006);
              7(1)                       Alaqsavoice (12/2009); Islamicrabita (12/2009); Alkulta (2008); Paldf
              RFP1:                      (2008).
              8(3)                       Designated by OFAC 4/2006.
Riyad         RFP1:       Hamas.         Died 2/17/03.
Husain        2(p)                       Public sources appear to post-date death. Source: Spitzen Appendix
                                         VII: citing Palestine-info (2003).

  1
    The references in this Category are to cites provided by Plaintiffs. The Bank does not necessarily agree that all
  such cites qualify as public source documents as defined by the Second Circuit

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Abdallah                     Individual not designated by OFAC.
Abu Zaid                     No reference in complaint.
Mahdi      RFP1:     Hamas   Public sources are undated or post-date relevant time period. Sources:
Shaker al- 2(q)              Spitzen Report (2011) citing Hamas website (2005); Pchrgaza (2007);
Hanbali                      Alqassam (undated); Nablustv.net (2010); Takdin.co (2009).
                             Individual not designated by OFAC.
Baha al-    RFP1:    Hamas   Public sources post-date relevant time period or does not mention
Din al-     2(r)             Baha al-Din al-Madhun. Sources: Shaked Report (2011) citing Arutz
Madhun                       7 (7/4/10); Spitzen Report (2011) citing Arutz 7 (7/4/10); Ma’an News
                             Agency (5/31/10); Ezz El Deen El Qassam Brigades – Information
                             Office (10/20/03) (does not mention Baha al-Din al-Madhun).
                             Individual not designated by OFAC.
                             No reference in complaint.
Khaled      RFP1:    Hamas   Public sources post-date relevant time period. Sources: Spitzen
Muhamm      2(t)             Report (2011) citing Milstein, The Green Revolution (2007);
ad Amin                      Palestinian Media Center (2010); Palestinian Information Center
al-Haj                       (10/10/2010); and Israel Ministry of Foreign Affairs (07/10/2008).
                             Individual not designated by OFAC.
                             No reference in complaint.
Nada        RFP1:    Hamas   Public sources post-date relevant time period. Sources: Hamas
Jamal al-   2(u)             website (1/13/2020); Spitzen Report (2011) does not cite any
Jayousi                      references.
                             Individual not designated by OFAC.
                             No reference in complaint.
Asma’       RFP1:    Hamas   No allegation in the complaints and no public source information that
Muhamm      8(41);           family member was linked to an FTO or engaged in violent and
ad          RFP1:            terrorist activity.
Suliman     2(v)             Individual not designated by OFAC.
Saba’ana                     No reference in complaint.
Lateefah    RFP1:    Hamas   Public sources post-date relevant time period and/or do not relate to
Naji        2(w)             violent activity. Sources: Spitzen Report (2011) notes that she “heads
Othman                       the al-Hudak Women's Society (see infra),” which is “part of Hamas’
Chawa                        civilian infrastructure” and cites:
                             http://web.archive/org/web/20041210013218/
                             www.al-hudah.org/about/about.html (undated but appears to be from
                             2004).
                             Individual not designated by OFAC.
                             No reference in complaint.
Khaled      RFP1:    Hamas   Died 10/20/2003.
Ghazi       2(x)             Public sources are undated and appear to post-date relevant time
Daud al-                     period. Sources: Spitzen Report (2011) cites al-Qassani website;
Masri                        http://btselem.org/hebrew/Statistics/Casualties_Data.asp?Category=19
                             &region=GAZA&sD=29&sM=09&sY=2000&eD=26&eM=12&eY=
                             2008&filterby=event&oferet_stat=before; and Shahid Palestine
                             website


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                            (http://shahidpalestine.org/index.php?option=com_martyrs&view=ma
                            rtyrs&Itemid=59&limitstart=1280) (unable to access links).
                            Individual not designated by OFAC.
                            No reference in complaint.
Abd al-     RFP1:   Hamas   Public source post-dates relevant time period. Source:
Salam       2(y)            alwatanvoice.com (09/30/2019).
Ismail                      Individual not designated by OFAC.
Haniyeh                     No reference in complaint.
Khaled      RFP1:   Hamas   No allegation in the complaints and no public source information that
Ibrahim     2(z)            family member was linked to an FTO or engaged in violent and
Al Abd                      terrorist activity.
Al Quqa                     Individual not designated by OFAC.
                            No reference in complaint.
Khalil      RFP1:   Hamas   No public source.
Mohamad     2(aa)           Individual not designated by OFAC.
Amin El                     No reference in complaint.
Haj
Mohamed     RFP1:   Hamas   No public source.
Redwan      2(bb)           Individual not designated by OFAC.
Ibrahim                     No reference in complaint.
Yasine
Rabah       RFP1:   Hamas   No public source.
Hayel       2(cc)           Individual not designated by OFAC.
Takrouri                    No reference in complaint.

Ayman       RFP1:   Hamas   No allegation in the complaints and no public source information that
Anwar       3(a)            family member was linked to an FTO or engaged in violent and
Ahmad                       terrorist activity.
Arafat                      Individual not designated by OFAC.
                            No reference in complaint.
Mohamad     RFP1:   Hamas   No accessible public sources cited prior to the relevant time period
Saleh       3(b)            and/or source is undated. Sources: Spitzen Report (2011) cites:
Taha                        http://al-fateh.net/hide/arch/fa13/hikaya13.htm (undated);
                            http://www.aleppos.net/forum/showthread.php?t=78966 (alleged link
                            cannot be accessed); http://www.alqusia.com/new/play-2762.htm
                            (alleged link cannot be accessed l; and
                            www.alaqsavoice.ps/arabic/index.php?action=detail&id=52153
                            (alleged links cannot be accessed).
                            Individual not designated by OFAC.
                            No reference in complaint.
Omar Ali    RFP1:   Hamas   No public source.
Abd al-Al   3(c)            Individual not designated by OFAC.
                            No reference in complaint.
Sabah       RFP1:   Hamas   No allegation in the complaints and no public source information that
Saeed       3(d)            family member was linked to an FTO or engaged in violent and
Hasan                       terrorist activity.

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Dar                        Individual not designated by OFAC.
Khalil                     No reference in complaint.
Omar       RFP1:   Hamas   No public sources cited prior to the attack. Sources: Shaked Report
Saleh      3(f)            (2011) cites: ISA Report (09/2007); An announcement from the Prime
Muhamm                     Minister of Israel’s office (06/15/2003); Israeli government report
ad Faiq                    (2003, discusses the attack so post-dates).
Sharif                     Individual not designated by OFAC.
                           No reference in complaint.
                           (Allegedly involved in suicide bombing on 6/11/2003, attack on Bus
                           No. 14A on Jaffa Road in Jerusalem.)
Firas      RFP1:   Hamas   No public sources cited prior to attack. Sources: Ahrar.ps
Fawzi      3(g)            (09/03/2012); VB.al-wed.com (Muntadayat al-Wed) (10/23/2004)
Salim                      notes that he was an Izz al-Din operative but that, "Students at the
Faydi                      Shari’a Faculty, an-Najah National University, did not expect their
                           fellow student, a seemingly quiet and shy person, to be hiding a huge
                           personality and to be a prominent member of Martyr Izz ad-Din al-
                           Qassam Brigades”; Palestine Times (09/18/2014).
                           Individual not designated by OFAC.
                           Complaint alleges that he assisted in the 10/27/02 Ariel Shooting.
Khaled     RFP1:   Hamas   Public sources post-date relevant time period. Sources: Ajnad News
Dib        3(h)            (07/08/2012); Unknown source (04/14/2016); and Palestine Times
Hasan                      (09/18/2014).
Abu                        Individual not designated by OFAC.
Hamd
Muhamm     RFP1:   Hamas   Indicted 11/21/2002.
ad Hasan   3(i)            No public sources cited prior to the attacks or his imprisonment.
Arman                      Sources: Spitzen Report (2011) cites Judea Military Court Protocol
                           (11/10/2003); Indictment of Mahmad Hasan Ahmad Arman (aka Abu
                           Moaz), Martial Court in Bethel (11/21/2002).
                           Individual not designated by OFAC.
                           No reference in complaint. (Allegedly involved in Sheffield Club
                           Bombing (5/7/2002)).
Walid      RFP1:   Hamas   Arrested 09/09/2002.
Abd al-    3(j)            No public sources cited prior to arrest. Source: Shaked Report (2011)
Aziz                       cites the indictment and verdict for this individual (11/30/2003).
Anjas                      Individual not designated by OFAC.
                           No reference in complaint.
Wa’el      RFP1:   Hamas   Public source post-dates relevant time period. Sources: Alhayat-j
Mahmud     3(k)            Website (12/03/2017).
‘Muham                     Individual not designated by OFAC.
mad Ali’                   No reference in complaint. (Allegedly involved in Sheffield Club
Qasem                      Bombing (5/7/2002)).
Ala al-    RFP1:   Hamas   No dated public sources during the relevant time period. Sources: Al-
Din        3(l)            Hayat Al-Jadida article (not dated).
Mahmud                     Individual not designated by OFAC.


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Muhamm                       No reference in complaint. (allegedly involved in Sheffield Club
ad Abasi                     Bombing (05/07/2002)).
Wisam       RFP1:    Hamas   Arrested.
Sa’id       3(m)             No dated public sources cited prior to arrest or sources are undated.
Musa                         Sources: Shaked Report (2011) cites court documents and his
Abasi                        confession (12/15/2002); Al-Hayat Al-Jadida (undated).
                             Individual not designated by OFAC. No reference in complaint.
Muhamm      RFP1:    Hamas   Public source post-dates relevant time period. Source: Al-Hayat Al-
ad Ishaq    3(n)             Jadida (12/3/2007).
Awda                         Individual not designated by OFAC.
                             No reference in complaint.
Jamal al-   RFP1:    Hamas   Public sources post-date relevant time period and/or do not link to
Tawil       3(o)             violence. Sources: Unknown/undated source (TVPL0058840), a
                             document detailing 159 suicide bombings from September 2000 to
                             May 2005; Spitzen Report (2011) cites Ynet article noting his arrest
                             but not noting reason (2002);
                             http://www.shabak.gov.il/English/EnTerrorData/Reviews/
                             Pages/coalition.en.aspx (2011); http://www.treasury.gov/resource-
                             center/terrorist-illicit-finance/Documents/charities_post-
                             earthquake.pdf (2005).
                             Individual not designated by OFAC.
Ibrahim     RFP1:    Hamas   Arrested.
Jamil       3(p)             No public sources cited prior to arrest. Sources: Shaked Report
Mar’i                        (2011) cites Indictment against Ibrahim Hamed, Prosecution File
Hamed                        3181/6, Military Court of Judea; Guy Aviad, Lexicon of Hamas
                             Movement (2014).
                             Individual not designated by OFAC.
                             No reference in complaint.
Farid       RFP1:    Hamas   No public sources cited prior to attack. Source: Shaked Report (2011)
Salah       3(r)             cites Announcement from the Prime Minister’s office (02/07/2002).
Na’im                        Individual not designated by OFAC.
Atrash                       No reference in complaint.
                             (Allegedly involved with the Ben Yehuda attack on 12/01/2001.)
Ayad        RFP1:    Hamas   No public sources cited prior to attack. Source: Shaked Report (2011)
Yusuf       3(s)             cites Announcement from the Prime Minister’s office (02/07/2002).
Abu Hilal                    Individual not designated by OFAC.
                             No reference in complaint.
                             (Allegedly involved with the Ben Yehuda attack on 12/01/2001.)
Aziz        RFP1:    Hamas   No allegation in the complaints and no public source information that
Yusuf       8(27);           family member was linked to an FTO or engaged in violent and
Ans abu     RFP1:            terrorist activity.
Hilal       3(t)             Individual not designated by OFAC.
                             No reference in complaint.
Abd el-     RFP1:    Hamas   Died 06/11/2003.
Mu’ati      3(u)             Public sources post-date death. Sources: Unknown source
Shabana                      (TVPL0058840) from unknown date that describes suicide bombings

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                             from September 2000 to May 2005; Shaked Report (2011) cites Al-
                             Risala newspaper (06/19/2003).
                             Individual not designated by OFAC.
                             Complaint alleges Abd el-Mu’ati Shabana committed suicide bombing
                             of Jaffa Road Bus #14A Bombing (06/11/2003).
Muhamm       RFP1:   Hamas   No public sources.
ad Fathi     3(v)            Individual not designated by OFAC.
Farhat                       Complaint alleges Muhammad Fathi Farhat committed suicide attack
a/k/a                        at Atzmona (03/07/2002).
Mohamm
ed
Farhath
Abd          RFP1:   Hamas   Died 06/11/2003.
Allah        3(w)            Public sources post-date death. Source: Spitzen Report (2011) cites
Qawasme                      http://www.alqassam.psiarabicispecial_internal.php7id=13 (date
h                            unknown).
                             Individual not designated by OFAC.
                             No reference in complaint.
Izz al-Din   RFP1:   Hamas   No public sources cited prior to relevant event (April 19, 2003 suicide
Khader       3(x)            bombing on the No. bus, Jerusalem). Source: Shaked Report (2011)
Shams al-                    cites Announcement from the IDF (09/22/2003).
Din Misk                     Individual not designated by OFAC.
                             No reference in complaint.
Ahmad        RFP1:   Hamas   Died 09/09/2003.
Othman       3(y)            Public source post-dates death. Source: Shaked Report (2011) cites
Muhamm                       “sealed” Indictment of Nasim Rashed Ad-Al Wadoud Za’atari
ad Badr                      (11/09/2003).
                             Individual not designated by OFAC.
                             No reference in complaint.
Sayid Isa    RFP1:   Hamas   Public sources post-date relevant time period. Source: Israeli Ministry
Jabar        3(z)            of Foreign Affairs (07/18/2005).
Siam                         Individual not designated by OFAC.
                             No reference in complaint.
Bilal Sub    RFP1:   Hamas   No public sources cited prior to the attack. Source: Shaked Report
Laban        3(aa)           (2011) cites his confession in connection with 06/11/2003 Bust 14A
                             bombing to Israeli police (date of confession: 06/25/2003).
                             Individual not designated by OFAC.
                             No reference in complaint.
Amar         RFP1:   Hamas   No public sources cited prior to attack. Sources: Shaked Report
Nasser al-   3(bb)           (2011) cites his confession to Israeli police regarding June 11, 2003
Din                          Jaffa Road bus bombing (07/15/2003) and http://www.palestine-
                             info.com/arabic/feda/naser.htm (05/09/2011).
                             Individual not designated by OFAC.
                             No reference in complaint.



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Bisam        RFP2:   PIJ   No public source.
Abd al-      1(a)          Individual not designated by OFAC.
Rahman                     No reference in complaint.
Ahmad
Abu Akar
Issa (Isa)   RFP2:   PIJ   Arrested 06/15/2003.
Muhamm       1(b)          Public source post-dates relevant time period. Source: Spitzen Report
ad Ismai’l                 (2011) cites
al-Batat                   https://web.archive.org/web/20071019005750/http://amin.org:80/look/
                           amin/article.tpl?IdLanguage=17&IdPublication=7&NrArticle=30010
                           &NrIssue=1&NrSection=1 (02/27/2005).
                           Individual not designated by OFAC.
Ziyad al-    RFP2: PIJ     Public sources post-date relevant time period. Sources: Palestine
Nakhala      2(a)          Today (09/27/2018); SDGT (2014); terrorism-info.org (10/31/2018).
                           OFAC listed 01/01/2014.
                           No reference in complaint.
Sami al-     RFP2: PIJ     No public source.
Arian        2(e)          Individual not designated by OFAC.
                           No reference in complaint.
Muhamm       RFP2: PIJ     Died 08/14/2003.
ad Ayub      2(g)          Public sources post-date death. Sources: Spitzen Report (2011) cites
Muhamm                     Saraya Al Quds (08/18/2003); Palestine-info (12/02/2007); Palestinian
ad Sidr                    Media Center website (12/02/2007).
                           Individual not designated by OFAC.
Luay         RFP2: PIJ     Public sources post-date relevant time period. Sources: Sarya Al-Quds
Jihad        2(h)          (10/04/2018), martyr page; article from http://www.terrorism-
Fathallah                  info.org.il/ malam_multimedia/html/final/sp/heb_n/sal-Sa’di.htm
al-Sa’di                   (10/26/2005).
                           Individual not designated by OFAC.
                           No reference in complaint.
Hanadi       RFP2: PIJ     Died 10/04/2003.
Taysir       2(i)          Public sources post-date death. Sources: Arab Media Network
Abd al-                    (10/05/2003); Haaretz (10/15/2003).
Malek                      Individual not designated by OFAC.
Jaradat                    No reference in complaint.
Muhamm       RFP2: PIJ     Arrested 07/13/2004.
ad Fares     2(j)          No accessible public sources cited prior to arrests. Source: Spitzen
Bashir                     Report (2011)
Jaradat                    citeshttp://arabic.pnn.ps/index.php?option=com_content&task=view&
                           id=21616&Itemid=37 (link cannot be accessed).
                           Individual not designated by OFAC.
                           No reference in complaint.
Khaled       RFP2: PIJ     Arrested July/August 2004.
Hussein      2(k)          No accessible public sources cited prior to arrest. Sources: Spitzen
Jaradat                    Report (2011) cites http://www.alhaqvoice.com/vb
                           /showthread.php?t=11389 (link cannot be accessed).

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                           Individual not designated by OFAC.
                           No reference in complaint.
Muhamm      RFP2: PIJ      No dated public source during the relevant time period. Source:
ad Abd      2(l)           Elehassan Society letter (undated document but the metadata indicates
al-Aziz                    the article is from 2018).
Ghanem                     Individual not designated by OFAC.
                           No reference in complaint.
Mustafa     RFP2: PIJ      Public sources post-date relevant time period and/or do not relate to
Tawfiq      2(m)           violent activity. Sources: Saraya Al Quds (07/06/2010); qaweim.com
Muhamm                     (02/18/2009); Elehssan Society (09/11/2003) (document provides
ad Awd                     authorization to open an account).
                           Individual not designated by OFAC.
                           No reference in complaint.
Muhamm      RFP2: PIJ      Public source does not relate to violent activity. Source: Elehssan
ad Saleh    2(n)           Society (09/11/2003, document provides authorization to open an
Muhamm                     account).
ad Sayfi                   Individual not designated by OFAC.
                           No reference in complaint.
Shafiq Ali RFP2: PIJ       Arrested 03/07/2002.
Suliman    2(o)            No accessible public sources cited prior to the attacks or arrest.
Radaida                    Source: Spitzen Report (2011) cites http://www.nawafithna.com/post-
                           186813.html (unable to access link).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ataf        RFP2: PIJ      Public sources post-date relevant time period. Sources: World
Dawud       2(p)           Association of Arab Translators and Linguists (Wata) (10/25/2008);
Hasan                      Webpage at yoo7.com (01/08/2010).
Aliyan                     Individual not designated by OFAC.
                           No reference in complaint.
Nihaya      RFP2: PIJ      Public source post-dates relevant time period. Sources: Qanon.ps
Khaled      2(q)           (12/25/2014).
Mahmud                     Individual not designated by OFAC.
al-Khatib                  No reference in complaint.
Tamer       RFP2: PIJ      Arrested 03/29/2004.
Khuweir     2(r)           Public sources post-date arrest. Source: Astandforjustice.org
                           (03/30/2004).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ghasan     RFP2: PIJ       Public source post-dates relevant time period. Source: Alyaum.com
al-Tirmasi 2(s)            (11/07/2008).
                           Individual not designated by OFAC.
                           No reference in complaint.
Muhamm      RFP2: PIJ      Died 05/20/2006.
ad          2(t)           Public source post-dates relevant time period and individual’s death.
Dahduh                     Source: Saraya Al Quds website (11/17/2019).
                           Individual not designated by OFAC.

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                           No reference in complaint.
Mahmud RFP2: PIJ           Public sources post-date relevant time period. Sources: Saray Al Quds
al-Majzub 2(u)             webpage (05/26/2018); Al Jazeera (05/27/2006).
                           Individual not designated by OFAC.
                           No reference in complaint.
Husam      RFP2: PIJ       Public sources post-date relevant time period. Source: HistoricaWiki,
Jaradat    2(v)            historica.fandom.com/wiki (01/13/2020).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ahmad      RFP2: PIJ       Public source post-dates relevant time period. Source: Spitzen Report
Abd al-    2(w)            (2011) cites http://www.alasra.ps/news.php?maa=View&id=10474
Rahman                     (02/19/2010).
Abu                        Individual not designated by OFAC.
Hasira                     No reference in complaint.
Mustafa    RFP2: PIJ       Public source post-dates relevant time period. Source: PFLP website
Tawfiq     2(x)            (07/29/2016).
Zaydan                     Individual not designated by OFAC.
                           No reference in complaint.
Salah      RFP2: PIJ       Public source post-dates relevant time period. Source: Jerusalem Post
Abu        2(y)            article (07/25/2014).
Hasnin                     Individual not designated by OFAC.
                           No reference in complaint.
Muqlid     RFP2: PIJ       Public sources post-date relevant time period and/or death. Sources:
Hamid      2(aa)           Spitzen Report (2011) cites Information page from The Center for the
                           Heritage of Intelligence (07/29/2009); Saraya Al Quds webpage
                           (12/25/2018) (martyr’s page from assassination).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ali        RFP2: PIJ       Arrested March-May 2002.
Suliman    2(dd)           No public sources cited prior to arrest. Sources: Verdict (06/01/2003);
Said al-                   Al Saraya news article (04/12/2014).
Sa’adi                     Individual not designated by OFAC.
                           No reference in complaint.
Ahmad      RFP2: PIJ       Public sources post-date relevant time period. Sources; Almanar.com
al-        2(ee)           news article (09/06/2018); Nidaa Al-Quds Network news article
Mudalal                    (08/03/1008).
                           Individual not designated by OFAC.
                           No reference in complaint.
Anwar      RFP2: PIJ       Died 12/11/2000.
Mahmud     2(ff)           Public sources post-date relevant time period and/or death. Sources
Ahmad                      cited: Khansaa Palestine news article (undated but discusses his
Hamran                     death); Alwatanvoice.com news article (12/15/2016).
                           Individual not designated by OFAC.
                           No reference in complaint.
Muhamm     RFP2: PIJ       Died 04/10/2003.
ad Saqr    2(gg)

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Ragheb                     Public source post-dates relevant time period and/or death. Source:
al-Zatme                   Saray Al Quds website (04/05/2014)
                           Individual not designated by OFAC.
                           No reference in complaint.
Murad       RFP2: PIJ      Public sources post-date relevant time period. Sources: The Sydney
Abd al-     2(hh)          Morning Herald (06/11/2008); Al Sharq Al-Awat (6/11/08).
Fatah                      Individual not designated by OFAC.
Abu al-                    No reference in complaint.
Asal
Nu’man      RFP2: PIJ      Died 07/13/2004.
Taher       2(ii)          No public sources cited prior to death: Spitzen Report (2011) cites
Sadeq                      http://sarayaalquds.org/njm/njm-2004-049.htm (not dated but
Tahaina                    discusses his death).
                           Individual not designated by OFAC.
                           No reference in complaint.
Bassam      RFP2: PIJ      Indicted 1/2004.
Sa’adi      2(jj)          Public source post-dates relevant time period. Sources: Nidaa Al-
                           Quds Network (07/29/2007).
                           Individual not designated by OFAC.
                           Complaint alleges Bassam Sa’adi was indicted for transferring funds
                           to operate terrorist activities.

Sheikh      RFP2:   PIJ    Public sources post-date relevant time period and/or do not relate to
Sharif      2(kk)          violent activity. Sources: Arabic Media Internet Network
Tahayna                    (08/14/2006); Palestine Today (12/18/2014); www.qudsway.com
                           (10/19/2003) (document describes documents being stolen from Al-
                           Ehssan Charitable Community by “occupational forces”). Individual
                           not designated by OFAC.
                           No reference in complaint.

Usri        RFP2: PIJ      Arrested 05/19/2004.
Fayad       2(II)          Public source post-dates arrest. Sources: Arabic Media Internet
                           Network (06/05/2004).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ali         RFP2: PIJ      No dated public sources during the relevant time period. Source:
Suliman     2(oo)          www.amanjordan.org (date unknown).
al-Safuri                  Individual not designated by OFAC.
                           No reference in complaint.
Riyad       RFP2: PIJ      No public sources. Plaintiffs cited Spitzen Appendix 1, p. 375, but
Muhamm      2(qq)          that page does not mention Riyad Muhammad Ali Badir.
ad Ali                     Individual not designated by OFAC.
Badir                      No reference in complaint.

Sameh       RFP2: PIJ      Arrested 08/28/2003.
Samir       2(rr)

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Muhamm                     No public sources cited prior to relevant time period or arrest.
ad Shubki                  Sources: Spitzen Report (2011) does not cite source.
                           Individual not designated by OFAC.
                           No reference in complaint.
Bahaa        RFP2: PIJ     Public sources post-date relevant time period. Sources: Walla! News
Abu Al       2(ss)         (11/2/2019); terrorism-info.org (11/12/2019); U.S. Department of the
Ata                        Treasury Resource Center (11/13/2019).
                           Designated by OFAC in 09/2019.
                           No reference in complaint.
Tareq        RFP2: PIJ     Public sources post-date relevant time period. Sources:
Qa’adan      2(tt)         Addammer.org (12/31/2012); Alaraby.co.uk (10/27/2019).
                           Individual not designated by OFAC.
                           No reference in complaint.
Shahdi       RFP2: PIJ     Public sources post-date relevant time period. Sources: The Star
Mhanna       2(uu)         (10/28/2005). Individual not designated by OFAC.
                           No reference in complaint.
Ali          RFP2: PIJ     Arrested March/April 2002.
Zafour       2(vv)         No public source cited prior to arrest. Source: Institute for Near East
                           Policy (04/17/2002).
                           Individual not designated by OFAC.
                           No reference in complaint.
Raed        RFP2:   PIJ    Public source post-dates relevant time period. Source: Fox News
Jundiya     2(ww)          (06/23/2013). Individual not designated by OFAC.
                           No reference in complaint.
Khaled      RFP2:   PIJ    Public sources post-date relevant time period. Sources : Al Jazeera
al-Batsh    2(xx)          (01/13/2015); and Timesofisrael.com (05/11/2019).
                           Individual not designated by OFAC.
                           No reference in complaint.
Nasser      RFP2:   PIJ    Public sources post-date relevant time period. Sources: Hamas
Ahmad       2(yy)          website (01/13/2020); and Saraya Al Quds (06/09/2012).
Yussuf                     Individual not designated by OFAC.
Shawka                     No reference in complaint.
h
Khader      RFP2:   PFLP   Died. Public sources post-date death. Sources: Arab International
Taleb       8(a)           Newspaper (Al-Sharq Al-Awsat) (09/30/2002); and Al-Jazirah, Saudi
Khader                     newspaper (09/30/2002) (articles report he was killed by heavy
Dhiyab                     bombing in Gaza).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ahmad       RFP2:   PFLP   Public sources post-date relevant time period. Sources: Haaretz
Sa’adat     9(c)           (12/16/2019); Ajras Alawda Network (01/15/2008); OMEDIA.ORG
a/k/a                      (03/16/2006); "Intelligence Heritage & Commemoration Center"
Ahmad                      (03/15/2013); Arab48 Website (07/25/2012).
Sa’dat                     Individual designated by OFAC in 04/2006.
Abd al-                    No reference in complaint.
Rasul

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Abd al-   RFP2:   PFLP     Public sources post-date relevant time period or are undated. Sources:
Rahim     9(d)             Al Jazeera (7/18/2007); Mapping Palestinian Politics (undated).
Maluh                      Individual not designated by OFAC.
                           No reference in complaint.
Maryam    RFP2:   PFLP     Public sources post-date relevant time period. Sources: Al Watan
Abu       9(e)             Voice (09/30/2019); PFLP website (11/15/2019).
Diqa                       Individual not designated by OFAC.
                           No reference in complaint.
Muham     RFP2:   PFLP     No public source.
mad       9(f)             Individual not designated by OFAC.
Shauqi                     No reference in complaint.
Sa’id
Nazal
Nureddi   RfP2:   PFLP     Arrested 4/23/03.
n Adnan   9(g)             Public source post-dates relevant time period. Source: Man-nisr al-
Sa’id                      ahmar “The Red Eagle” Forum website (12/14/2009).
Daoud                      Individual not designated by OFAC.
                           No reference in complaint.
Jamal     RFP2:   PFLP     No public source prior to imprisonment, public source post-dates
Hindi     9(h)             relevant time period, or source is undated. Sources: News1
Zayed                      (09/06/2002) (noting his arrest in 2002); Fatah (11/3/2015); The
                           Israeli Information Center for Human Rights in the Occupied
                           Territories (undated).
                           Individual not designated by OFAC.
                           No reference in complaint.
Jamil     RFP2:   PFLP     Public sources post-date relevant time period or are undated. Sources:
Mizher    9(i)             PFLP website (06/14/2013); PFLP website undated, but concerns a
                           January 20, 2007 speech; Arabi21.com (undated).
                           Individual not designated by OFAC.
                           No reference in complaint.
Ra’fat    RFP2:   PFLP     Public sources post-date relevant time period or are prior to
Ali       9(j)             imprisonment. Sources: Spitzen Report (2011) citing
Muham                      http://www.alhayatj. com/details.php?opt=3&id=15577&cid=288
mad al-                    (2005); Moqawmh.ps (09/02/2015); Spitzen Report (2011) cited
Aruqi                      http://pflp2.jeeran.com/alasra.html and noting this states the date of
                           his arrest.
                           Individual not designated by OFAC.
                           No reference in complaint.
Shaher    RFP2:   PFLP     Public source post-dates relevant time period: Al Watan Voice
Ali       9(k)             (06/04/2016).
Mahmo                      Individual not designated by OFAC.
ud al-                     No reference in complaint
Rai
Ali       RFP2:   PFLP     Public sources are undated. Sources: Spitzen report (2011) cited Al
Atiya     9(m)             Jazeera (undated); and PFLP website (undated).
Jaradat                    Individual not designated by OFAC.

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Amer      RFP2:   PFLP     No public source.
Muham     9(n)             Individual not designated by OFAC.
mad                        No reference in complaint.
Musa
Jafal
Ahmad     RFP2:   PFLP     Public sources do not link to violent activity or are not accessible.
Abu al-   9(o)             Source: Ozzo.com (dated 2004) (notes member of PFLP)); Spitzen
Sa’ud                      Report (2011) cited:
Abd al-                    http://www.qudsnet.com/arabic/news.php?maa=View&id=45005.
Razaq                      Individual not designated by OFAC.
Hanani                     Complaint alleges Ahmad Abu al-Sa’ud Abd al-Razaq Hanani
                           received a Saudi Committee prisoner payment.
Ra’ed     RFP2:   PFLP     Died 04/26/2002.
Musa      9(q)             No public sources cited prior to death or is undated. Sources: Hadf
Ibrahim                    News (04/26/2018); LEBnights (06/17/2006); Al Watan (05/11/2016);
Nazal                      Israeli Air Force website (iaf.org.il) (04/26/2002); Palestine News
                           Network (undated)
                           Individual not designated by OFAC.
                           No reference in complaint.
Adnan     RFP2:   PFLP     Prisoner from 1989-2011.
Muham     9(r)             No public source prior to imprisonment.
mad Ata                    Individual not designated by OFAC.
Maragha                    No reference in complaint.
Othman    RFP2:   PFLP     No public source prior to imprisonment. Source: PALDF.net
Muham     9(s)             (08/28/2004), lists Othman Muhammad Ata Maragha as a PFLP
mad Ata                    prisoner.
Maragha                    Individual not designated by OFAC.
                           No reference in complaint.

Handum    RFP2:   PFLP     No allegation in the complaints and no public source information that
a         9(t)             family member was linked to an FTO or engaged in violent and
Rashed                     terrorist activity.
Ibrahim                    Individual not designated by OFAC.
Wishah                     No reference in complaint.
Kamil     RFP2:   PFLP     Arrested 04/13/2003.
Sa’id     9(u)             Public sources are undated: ASRA Voice (screenshot of website)
Abu                        (undated); Al-Hayat Al-Jadida (undated).
Hanish                     Individual not designated by OFAC.
                           No reference in complaint.
Basel     RFP2:   PFLP     Public sources post-date relevant time period. Sources: Ma'an News
Asmar     9(v)             Agency (02/06/2008); and International Middle East Media Center
                           (02/06/2008).
                           Individual not designated by OFAC.
                           No reference in complaint.



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Ahed      RFP2:   PFLP       Arrested 2002.
Abu       9(w)               Public sources post-date relevant time period and arrest. Sources:
Ghalma                       Miljad Majeed (07/25/2012); and unknown blog (08/25/2007).
                             Individual not designated by OFAC.
                             No reference in complaint.
Ayman     RFP2:   PFLP       Public sources post-date relevant time period. Sources: Felesteen.ps
al-Hur    9(x)               (05/19/2007); Khan Younis Governorate (08/06/2007); Statement of
                             the Popular Front for the Liberation of Palestine (11/06/2006); and
                             Screenshots of Ayman al-Hur's Facebook profile (various dates in
                             October and November of mostly likely 2013--some posts have the
                             year listed and some do not).
                             Individual not designated by OFAC.
                             No reference in complaint.
Muham     RFP2:   Fatah/AA   Public sources post-date relevant time period or are unrelated to
mad       15(c)   MB         violent activity. Sources: Lawrence of Cyberia Blog (07/27/2004)
Dahlan                       (biographical information); and News Article (Echoroukonline)
                             (06/18/2007).
                             Individual not designated by OFAC.
                             No reference in complaint.
Nayef     RFP2:   Fatah/AA   Public source post-dates relevant time period. Source: Archive from
Abu-      15(d)   MB         nedal.net (08/31/2018).
Sharakh                      Individual not designated by OFAC.
                             No reference in complaint.
Bilal     RFP2:   Fatah/AA   Died 04/22/2004.
Abu       15(e)   MB         Public sources post-date death. Source: Alayam.com (04/23/2004).
Amsha                        Individual not designated by OFAC.
                             No reference in complaint.
Faruq     RFP2:   Fatah/AA   Public sources post-date relevant time period or are undated. Source:
Qadumi    16(a)   MB         Encyclopedia Palestina (05/16/2013); and reference to undated
                             document MIPT Terrorism Knowledge Base (undated).
                             Individual not designated by OFAC.
                             No reference in complaint.
Mahmu     RFP2:   Fatah/AA   Public source post-dates relevant time period. Source: Wafa.ps
d Abu     16(b)   MB         (03/11/2007).
Hamam                        Individual not designated by OFAC.
                             No reference in complaint.

Khaled    RFP2:   Fatah/AA   Public sources post-date relevant time period. Sources: Al Jazeera
Abu       16(d)   MB         (01/2015); and Palestinian Liberal Movement Media Office
Hilal                        (03/05/2016).
                             Individual not designated by OFAC.
                             No reference in complaint.
Naser     RFP2:   Fatah/AA   Public source post-dates relevant time period. Source: Israel National
Badawi    16(f)   MB         News (06/28/2007).
                             Individual not designated by OFAC.
                             No reference in complaint.

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Naser      RFP2:   Fatah/AA   No public source.
Naji       16(g)   MB         Individual not designated by OFAC.
Abu                           No reference in complaint.
Hamid


Fadi       RFP2:   Fatah/AA   Public sources post-date relevant time period. Sources: Maariv NRG
Qafisha    16(h)   MB         (08/31/2006); and nedal.net (08/31/2018).
                              Individual not designated by OFAC.
                              No reference in complaint.
Zakaria    RFP2:   Fatah/AA   Public sources post-date relevant time period. Sources: Ynet Date
Zbeidi     16(j)   MB         (05/21/2019); Tablet (09/21/2012); Indymedia Ireland Date (2009);
                              and The New Arab (01/07/2015).
                              Individual not designated by OFAC.
                              No reference in complaint.

Mahmu      RFP2:   Fatah/AA   Died 07/04/2003.
d          16(l)   MB         Public sources post-date death. Sources: Al Riyadh Newspaper
Ahmad                         (07/04/2003); and Al Jazeera (07/04/2003).
Muham                         Individual not designated by OFAC.
mad                           No reference in complaint.
Shawer
Sanaa’     RFP2:   Fatah/AA   Arrested 03/21/2002.
Shahada    16(p)   MB         Public sources post-date arrest or relevant time period. Sources: NRG
                              News (09/15/2005); Appeal No. 2397-04 (07/31/2005); and Arab
                              Media Internet Network (11/21/2002, discussing arrest)
                              Individual not designated by OFAC.
                              No reference in complaint.
Naser      RFP2:   Fatah/AA   Public sources post-date attack and relevant time period. Sources:
Jamal      16(r)   MB         Krama Press News (03/18/2014); and Maan News (02/23/2013).
Musa                          Individual not designated by OFAC.
Shawish                       No reference in complaint.
                              Allegedly involved in Al Aqsa Martyrs Brigades suicide bomber in
                              King George Street Bombing (03/21/2002).
Moham      RFP2:   Fatah/AA   Public sources post-date relevant time period. Sources: Saraya Al-
med        16(s)   MB         Quds website (05/14/2015); and Saraya Al-Quds website
Qasem                         (05/14/2016).
Ahmed                         Individual not designated by OFAC.
Aradah                        No reference in complaint.

Moham      RFP2:   Fatah/AA   Public source post-dates attack. Source: Court document related to
med        16(t)   MB         appeal (03/31/2004).
Said Ali                      Individual not designated by OFAC.
Kablawi                       No reference in complaint.


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                              Allegedly involved in Al Aqsa Martyrs Brigades suicide bomber in
                              King George Street Bombing (03/21/2002).
Khad’er   RFP2:    Fatah/AA   Arrested.
Amin      16(u)    MB         No public sources cited prior to arrest. Source: Indictment of Kahira
Moham                         Sa’id Al-Sa’di before Israel Military Court in Beit El. Khad’er
med                           (07/08/2002)
Dabiyah                       Individual not designated by OFAC.
                              No reference in complaint.
Atef      RFP2:    Fatah/AA   Public source is undated. Source: Spitzen Report (2011), citing
Abayat    16(v)    MB         http://www.fatehforums.com/showthread.php?p=101404 (undated).

Ahmad     RFP2:    Fatah/AA   Arrested 04/15/2002.
Taleb     16(w)    MB         No public sources cited prior to arrest. Sources: Amended Indictment
Mustafa                       of military occupation court of Beit El for Ahmad Taleb Mustafa
Barghut                       Barghuthi al-Faransi (10/01/2002); Al-Sabeel Newsletter
hi al-                        (08/11/2003); Times of Israel (02/06/2015); and Spitzen Report
Faransi                       (2011) citing: https://mfa.gov.il/MFA/MFA-
                              Archive/2002/Pages/Information%20on%20Marwan%20and%20Ahm
                              ed%20Barghouti%20-%2015-Apr.aspx, which is dated April 14,
                              2002.
                              Individual not designated by OFAC.
                              No reference in complaint.
Majed     RFP2:    Fatah/AA   Public source post-dates relevant time period. Source: AAMB
Qini      16(x)    MB         Website (11/2018). Individual not designated by OFAC. No reference
                              in complaint.

Munzar    RFP2:    Fatah/AA   No public source.
Mahmo     16(y)    MB         Individual not designated by OFAC.
ud                            No reference in complaint.
Khalil                        (Allegedly involved in 1/27/02 Jerusalem bombing.)
Noor
Tawfiq    RFP2:    Fatah/AA   No public source.
Tirawi    16(z)    MB         Individual not designated by OFAC.
                              No reference in complaint.
                              (Allegedly involved in 01/27/2002 Jerusalem bombing.)
Amjad     RFP2:    Fatah/AA   Public sources post-date relevant time period. Sources:
Mahmu     16(aa)   MB         Palestineremebered.com (02/03/2012); PalVoice Onling (11/09/2007).
d                             Individual not designated by OFAC.
Ibrahim                       No reference in complaint.
Fakhuri
Muham     RFP2:    Fatah/AA   Public sources post-date relevant time period or not related to
mad       16(bb)   MB         violence. Sources: Al Watan Voice (06/02/2014); WikiLeaks
Hijazi                        (04/12/2016); Israeli Military Court Ruling (07/29/2002) discusses
                              Mr. Hijazi's testimony regarding the interrogation of Fuad Hejazi
                              Shubaki).
                              Individual not designated by OFAC.

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                                No reference in complaint.
Alaa        RFP2:    Fatah/AA   Public sources post-date relevant time period. Sources: Aljazeera
Tafesh      16(cc)   MB         (06/14/2009); Echoroukonline (06/18/2007); Alwatanvoice
                                (01/10/2012).
                                Individual not designated by OFAC.
                                No reference in complaint.
Haytha      RFP2:    Fatah/AA   Public source post-dates relevant time period. Source:
m Abu       16(dd)   MB         karamanews.net (03/06/2016).
al-Naja                         Individual not designated by OFAC.
                                No reference in complaint.
Zaher       RFP2:    Fatah/AA   Died 07/08/2004.
Abu         16(ee)   MB         Public sources post-date death. Sources: Al Jazeera (10/03/2004);
Harbid                          AlWatan Voice (07/08/2004); Nedal.net (07/08/2019); and Verdict
                                against Sayed Abu Awda from the Israeli legal website (before the
                                Beer Sheba District Court) (07/13/2010).
                                Individual not designated by OFAC.
                                No reference in complaint.
Nasser      RFP2:    Fatah/AA   Died 07/08/2004.
al-Din      16(ff)   MB         Public sources post-date death. Sources: Al Jazeera (10/03/2004);
Abu                             AlWatan Voice (07/8/04); and Al Jazeera (10/3/04).
Harbid                          Individual not designated by OFAC.
                                No reference in complaint.
Ahmad       RFP2:    Fatah/AA   Died 03/12/2002.
Hilis       16(gg)   MB         Public sources undated or post-date death. Sources: Al Jazeera
                                (10/3/04); AlWatan Voice (7/8/04); Al Jazeera (10/3/04); Spitzen
                                Report (2011) citing http://web.
                                archive.org/web/20080822052232/www.shahidpalestine.org/shouhada
                                /intifadaaksa/
                                shohadaa+2002.htm (undated);
                                http://www.palestineinfo.comiarabic/hamasishuhda
                                /2002/mohamadhalas/bayan.htm (3/17/11).
                                Individual not designated by OFAC.
                                No reference in complaint.
Hassan      RFP2:    Fatah/AA   Public source post-dates relevant time period. Sources: Aljazeera
‘Atiya      16(hh)   MB         (undated but references 11/01/2005).
Hassan                          Individual not designated by OFAC.
Madhou                          No reference in complaint.
n
Na’el al-   RFP2:    Fatah/AA   Public source post-dates relevant time period. Source: Palestinian
Sharif      16(ii)   MB         Information Center (10/18/2007).
                                Individual not designated by OFAC.
                                No reference in complaint.

Jamil       RFP2:    Fatah/AA   Died 03/31/2002.
Khalaf      16(jj)   MB
Mustafa

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Hamid                          Public source post-dates death and attack. Source: Bates Number
(Jamil                         TVPL0058840, which is an unknown source from unknown date that
Khalaf                         describes suicide bombings from 09/2000 to 05/2005.
Hamied)                        Individual not designated by OFAC.
                               Complaint alleges that Jamil Khalaf Hamied committed 03/31/2002
                               suicide bombing at supermarket and medical center.

Riyad      RFP2:    Fatah/AA   Arrested 05/07/2002.
Dakhlall   16(kk)   MB         Public source post-dates arrest and relevant time period. Source: Asra
ah al-                         Media (05/17/2018).
Amur                           Individual not designated by OFAC.
                               No reference in complaint.

Muhssie    RFP2:  Fatah/AA     Died 07/30/2002.
n Attah    16(mm) MB           Public source post-dates death and attack. Source: Bates Number
                               TVPL0058840 Unknown source from unknown date that describes
                               suicide bombings from 09/2000 to 05/2005.
                               Individual not designated by OFAC.
                               Complaint alleges that Muhssien Attah committed 7/30/02 Suicide
                               Bombing at Hanevi’im Street in Jerusalem.
Alaa       RFP2:    Fatah/AA   No public source.
‘Abd al-   16(nn)   MB         Individual not designated by OFAC.
Kareen                         No reference in complaint.
                               (Allegedly involved in 7/30/02 suicide bombing on Hanevi’im Street,
                               Jerusalem.)
Muham      RFP2:    Fatah/AA   Public source post-dates relevant time period.
mad        16(oo)   MB         Source: Notary translation of verdict - Military tribunal Judea
Hamash                         (08/24/2006).
                               Individual not designated by OFAC.
                               No reference in complaint.

Zaynab     RFP2:    Fatah/AA   Public sources post-date relevant time period and attack. Source:
Ali Abu    16(pp)   MB         Bates Number TVPL0058840, which is an unknown source from
Salem                          unknown date that describes suicide bombings from 09/2000 to
a/k/a                          05/2005.
Zeinab                         Individual not designated by OFAC.
Ali Issa                       Complaint alleges that he committed the French Hill attach on
Abu                            09/22/2004.
Salem
Moham      RFP2:    Fatah/AA   No public source.
med        16(qq)   MB         Individual not designated by OFAC.
Muhtasi                        No reference in complaint.
b                              (Allegedly involved in 7/30/02 suicide bombing on Hanevi’im Street,
                               Jerusalem.)



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Amnah    RF2:     Fatah/AA   Public source post-dates relevant time period. Source: “Plaintiff
Reehan   16(rr)   MB         Sokolow opposition to Defendant PLO's MTD for JMOL in SDNY”
                             (05/21/2015).
                             Individual not designated by OFAC.
                             No reference in complaint.




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   Appendix 3: Category C.2, No Allegation In The Complaints That Family Member Was
            Linked To An FTO Or Engaged In Violent And Terrorist Activity
                          Name                          Miller/Pam Reference
      Family of Muhanad Mahmoud Ibrahim Abu Zor              RFP1: 10(1)
    Family of Khaled Nabil Khamis Mohammed Sawalha           RFP1: 10(2)
       Family of Ibrahim Yasser Ibrahim Naji Khalil          RFP1: 10(3)
   Family of Amjad Sulieman Hassan Hussein Abu Salim         RFP1: 10(4)
    Family of Khaldoun Walid Aref Mohammed Sha'ablu          RFP1: 10(5)
      Family of Omar Mohhamed Awad Abu Al-Rob                RFP1: 10(6)
  Family of Yusuf Mohammed Rareb Hamdan Abu Al-Rob           RFP1: 10(7)
     Family of Abd Al-Karim Omar Mohammed Yusuf              RFP1: 10(8)
                        Ahmed
       Family of Nazir Muhammad Mahmud Hamad                 RFP1: 10(9)
       Family of Izz al-Din Shuhayl Ahmad al-Masri           RFP1: 10(10)
           Family of Muhammad Ahmad Halas                    RFP1: 10(11)
          Family of Bilal Fayez Mustafa Shehada              RFP1: 10(12)
    Family of Muhammad Abd al-Ghani Muhammad Abu             RFP1: 10(13)
                        Jamus
             Family of Imad Atiwi Abu Razaq                  RFP1: 10(14)
          Family of Abd al-Rahman Naser Ghazal               RFP1: 10(15)
           Family of Ahmad Abd al-Qader Atiq                 RFP1: 10(16)
       Family of Muhammad Hasan Ahmad al-Fayed               RFP1: 10(17)
        Family of Amjad Hussein Ahmad al-Fayed               RFP1: 10(18)
            Family of Khaled Jamal Ali Najem                 RFP1: 10(19)
             Family of Mahmud Ali al-Hilwa                   RFP1: 10(20)
         Family of Saleh Muhammad Saleh Kamil                RFP1: 10(21)
     Family of Mustafa Abd al-Rahim Yusuf al-Shalabi         RFP1: 10(22)
       Family of Muhammad Khalil Atiya Musharaqa             RFP1: 10(23)
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                        Name                         Miller/Pam Reference
       Family of Muhammad Omar Salim Hawashin              RFP1: 10(24)
             Family of Munir Issa Wishahi                  RFP1: 10(25)
        Family of Munqidh Muhammad Sawafteh                RFP1: 10(26)
           Family of Yaser Husni Al-Masdar                 RFP1: 10(27)
   Family of Muhammad Mashhur Muhammad Hashaikeh           RFP2: 16(n)
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  Appendix 4: Category D Individuals and Entities Allegedly Linked to an FTO During the
                                 Relevant Time Period
                      Name                           Miller/Pam Reference
        Sheikh Ramadan Abdalla Shalah (Dr.                 RFP2: 2(b)
                 Ramadan Shalah)
             Sheikh Abd al-Aziz Awda                       RFP2: 2(c)
                   Fathi Shiqaqi                           RFP2: 2(d)
           Bashir Musa Muhammad Nafi                       RFP2: 2(f)
                 Mahmud al-Hindi                           RFP2: 2(z)
            Iyad Ahmad Yusuf Sawalha                RFP2: 2(bb); RFP2: 2(pp)
             Muhammad Said al-Hindi                       RFP2: 2(cc)
      Dhiyab Abd al-Rahim Abd al-Rahman al-               RFP2: 2(mm)
                     Shweiki
                Akef Fayez Nazal                          RFP2: 2(nn)
                  George Habash                            RFP2: 9(a)
       Mustafa al-Zibri AKA Abu Ali Mustafa                RFP2: 9(b)
            Maher Ali Mahmoud al-Rai                       RFP2: 9(l)
              Yaman Tayeb Ali Faraj                        RFP2: 9(p)
                 Marwan Barghuti                          RFP2: 15(b)
                 Maslama Thabet                           RFP2: 16(c)
              Osama Khaled al-Silawi                      RFP2: 16(e)
                   Sirhan Sirhan                          RFP2: 16(i)
              Ahmad Yusuf Maghrabi                        RFP2: 16(k)
      Marwan Kaid Mutliq abd al-Karim Zalum               RFP2: 16(m)
               Qahira Said Ali Sa’adi                     RFP2: 16(o)
         Abd al-Karim Rateb Yunes Aweis                   RFP2: 16(q)
     Ahmad Taleb Mustafa Barghuthi al-Faransi             RFP2: 16(w)
            Ibrahim Musa Salem Abayat                     RFP2: 16(ll)
            Fatah Revolutionary Council                   RFP2: 17(f)
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                        Name                          Miller/Pam Reference
     Vanguards of the Popular Army a/k/a Tala'I           RFP2: 17(k)
                Aal-Jaysh al-Sha'bi
             Palestinian Islamic Jihad                    RFP2: 26(a)
     Popular Front for the Liberation of Palestine        RFP2: 26(b)
              Al Aqsa Martyrs Brigade                     RFP2: 26(c)
                    Fatah/Tanzim                          RFP2: 26(d)
                       Force 17                           RFP2: 26(e)
                    Fatah Hawks                           RFP2: 26(f)
            Ahmad Abu al-Rish Brigades                    RFP2: 26(g)
         Ahmed Yassin a/k/a Ahmad Yasine                   RFP1: 2(a)
                 Ismail Abu Shanab                         RFP1: 2(g)
        Salah Shehadeh a/k/a Salah Shehada                 RFP1: 2(h)
                   Abbas al-Sayed                          RFP1: 2(j)
                 Muhammad Sham'a                           RFP1: 2(l)
                    Ghazi Hamad                           RFP1: 2(m)
              Abd al-Khaleq al-Natsheh                     RFP1: 2(s)
                 Sayed Abu Msameh                          RFP1: 3(e)
         Abdalla Ghaleb Abdalla Barghuthi                  RFP1: 3(q)
        Halima Yassin Ahmed Yassin’s wife                  RFP1: 2(b)
        Khalil Hasan Yassin Ahmed Yassin’s                 RFP1: 2(c)
                      nephew
         Layla Khamis Yusuf Safira Salah                   RFP1: 2(i)
                  Shehadeh’s wife
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         Appendix 5: Category E, The Palestinian Government and Political Parties
                      Name                          Miller/Pam Reference
             Palestine National Fund                RFP2: 17(a); RFP2: 25
            Fatah Central Committee                      RFP2: 17(b)
             Fatah Youth Movement                        RFP2: 17(c)
    Civil Society Organizations Commissions              RFP2: 17(e)
      Fatah Mobilization and Organization                RFP2: 17(g)
                  Commission
                 Martyr Institute                        RFP2: 17(h)
   Birzeit University Fatah Youth Movement              RFP2: 17(m)
   Palestinian Authority Ministry of Detainees           RFP2: 17(n)
                and ex-Detainees
     Palestinian Authority Economic Affairs              RFP2: 17(o)
                  Department
  Palestinian Authority Institute for the Care of     RFP2: 17(p), 26(h)
        Martyrs' Families and the Injured
    Palestine Liberation Organization (PLO)               RFP2: 24
     Palestinian Ministry of Social Welfare's             RFP2: 23
  Institute for the Care of Martyrs' Families and
                     the Injured
                    Yasser Arafat                        RFP2: 15(a)
